      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 1 of 69




IN THE UNITED STATES DISTRICT COURT
SOUTHTERN DISTRICT OF NEW YORK
______________________________
SAMANTHA SIVA KUMARAN                                   )
THE A STAR GROUP, INC.                                  )
d/b/a/ TIMETRICS, and                                   )       Case No: 1:19-CV-08345-LBS-DCF
,                                                       )       Judge: Lorna B Schofield
                       Plaintiffs,                      )       Magistrate Judge: Debra C. Freeman
                                                        )
                                                        )
                -against-                               )       FIRST AMENDED
                                                        )       COMPLAINT
NORTHLAND ENERGY TRADING, LLC                           )
HEDGE SOLUTIONS, INC.,                                  )
RICHARD M. LARKIN                                       )
DANIEL LOTHROP                                          )
DOMENIC BRAMANTE                                        )
                       Defendants                       ),

______________________________

Pursuant to Federal Civil Rule 15 (1) (A) Plaintiffs Samantha Siva Kumaran (“Kumaran”) and

The A Star Group, Inc. d/b/a/ Timetrics (“Timetrics”) (herein collectively called “Plaintiffs”) ,

submit a first amended complaint, which alleges as follows:

                                 PRELIMINARY STATEMENT

1.   This is a civil action under New York State law for breach of contract, fraudulent inducement,

misappropriation of trade secrets, unjust enrichment, and common law fraud, seeking

disgorgement of wrongfully-derived profits brought by Plaintiffs against Defendants;

2.   Plaintiffs are in the business of consulting and developing computer software used by

commodities traders to increase profits and reduce hedging risks by using advanced mathematical

tools and procedures. Defendants are two commodities trading firms, their owner and employees,

all of whom specialize in the hedging of large volumes of fuel oil.

3.   Defendants engaged in an extensive and well-orchestrated fraudulent scheme to steal

Plaintiffs valuable trade secrets and intellectual property and to cut Plaintiffs out of their fair share

of IP and Software License Fees and not pay their share of Trading Royalties.
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 2 of 69

First Amended Complaint, Page 2


4.   Under the express restrictions of a Timetrics NDA (“Timetrics NDA)”, as well as a Timetrics

Software End User License Agreement (“EULA”), and numerous other \engagement letters,

Plaintiffs disclosed and provided limited license use of its proprietary hedging strategies, software

and techniques which are the valuable trade secrets of Plaintiffs’ commercial livelihood. Plaintiffs

during its twenty years of risk management consulting and software design, had spent hundreds of

person-hours developing methods, techniques and formulations and were protected from

disclosures by NDA’s and limiting use and access by employees, which are the valuable trade

secrets of its businesses. The EULA and NDA has numerous restrictive covenants, including but

not limited to not creating Derivative Works, and not using the IP to replicate systems onsite.

5.   Between 2011 – 2015, Defendants approached Plaintiffs to implement advanced risk

management frameworks and design improved hedging strategies, for which, Defendants

promised that large profits sharing, and lucrative incentives and licensee fees would be made in

exchange for the use and disclosure of Plaintiffs’ IP, software and strategies.

6.   Defendants specifically approached and subsequently retained Plaintiffs as they admitted they

could not develop the risk management models or hedging strategies internally themselves, and

needed Plaintiffs to fill a gap in their internal capabilities. Defendants also retained Plaintiffs to

make financial improvement to what they certified it had previously achieved as an audited

Baseline P&L.

7.   Defendants however, after several beta and demos of Plaintiffs’ methodologies and IP, and

observing the potential profitability of the Plaintiff’s IP intentionally and with scienter, set about

a plan, to cut Plaintiff out of its fair share of royalties and license fees. Larkin, together with two

employees Daniel Lothrop (“Lothrop”) and Domenic Bramante (“Bramante”) at Northland and

Hedge, hatched a plan to create a clone copy of Plaintiffs’ software and IP, supplement missing

risk management infrastructure, tools, models and capabilities, to illicitly transfer onsite to

Defendants’ businesses, in breach of the express IP restrictions under the Timetrics NDA, EULA

and other agreements.




                                                  2
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 3 of 69

First Amended Complaint, Page 3


8. The plan was simple: first, approach Plaintiffs under the false pretense that Defendants were

interested in purchasing lucrative long term licenses to use the Plaintiff’s IP and Software under

the IP License Agreement (“License Fees”) and offer substantial royalties and profit incentives

(“Profit Sharing”); second, gain access to the Plaintiffs’ IP and Software including details of inner

workings under a “FAT” Test, during which they obtained detailed disclosure of multiple

improvements to their business operations; and last, create a copycat product for use, which they

called the “OBT Book”, which was fraudulently concealed from Plaintiffs.

9. However, unknown to Plaintiffs, around 2014 Defendants had already launched its copycat

OBT Book System for use in a risk management, production and trading environment.

implementing hedging gallons from its Heating Oil book, and transferred an estimated several

millions of gallons over to replicate the hedging strategies from Plaintiffs, reaping profits to

Defendants without making payments to Plaintiffs.

10. Lothrop, Bramante and Larkin, made numerous fraudulent statements, included herein in

Affidavit 1-3, in order to brazenly misappropriated Plaintiffs programs and IP, including the risk

monitoring framework, in express breach of the all agreements, EULA, Timetrics NDA – calling

their copy-cat system the “OBT Book” a Derivative Work with willful infringement of Plaintiffs’

IP and breach of the EULA and NDA.

11. Defendants plans backfired, after Lothrop and Larkin encumbered the account with numerous

unauthorized synthetic futures, resulting in miscalculations of margin calls along with notorious

absences from the trading floor.

12. After a chronic pattern of late payments, Defendants then failed to pay outstanding invoices,

an action initiated by Plaintiffs for non-payment of invoices in New York State Supreme Court.

County of New York, designated case number 651629/2015, thereafter removed to the United

States District Court for the Southern District N.Y., designated as case number 15-cv-04660.

13.   With full knowledge that Larkin had infringed the IP protection provisions of the EULA, and

Timetrics NDA, Larkin made fraudulent representation and warranties to induce Plaintiffs to the




                                                 3
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 4 of 69

First Amended Complaint, Page 4


Settlement, where the invoices were paid in full together with Plaintiffs attorney fees, to terminate

the prior engagements; to avoid his liabilities to pay the ongoing license fees and royalties.

14.   Reliant on fraudulent representations by Larkin, who was materially concealed the OBT

book, on May 9th, 2016, Plaintiffs enter into a “Mutual Release and Settlement Agreement”

(hereinafter the Settlement”) with Defendants, The Settlement is attached hereto as Exhibit 1.

15. Defendants however at the time were already in breach of the contract by retaining the

valuable and proprietary IP which includes without limitation Plaintiff’s risk management tools,

hedging strategies, designs, models, processes, techniques, algorithms, hedging methodologies,

graphical interfaces, decision support tools, Timetrics Software and other Confidential

Information, (hereinafter “IP”), creating from this Derivatives, which Defendants explicitly

represented and warranted as part of the Settlement that they would not retain or subsequently use,

and which the Settlement explicitly prohibited the retention and use of, as well as the subsequent

preservation and modification, or in all other ways subsequent development from principles,

methodologies and techniques contained within the protected IP.

16. As the inclusion of such protections, was a vital negotiated term of that Settlement Agreement

and essential to the foregoing, without which Plaintiffs would not have entered into any settlement,

Larkin, Northland and Hedge fraudulently induced Plaintiffs into entering into the Settlement by

their knowing and intentional breach of this term in particular, Defendants’ representation and

warranty that they disclaimed and would not retain, use, duplicate, or otherwise misappropriate

Plaintiffs’ IP, or right, title, and/or interest in and to Plaintiffs’ IP, was a nullity as of the moment

the Settlement was executed and at no point after execution of the Settlement did Defendants act

to comply with that term of the Settlement, instead knowingly and willingly retaining, concealing,

developing, modifying, and ultimately utilizing Plaintiff’s IP for ongoing profit.

17. After now implementing their version of the copycat “OBT Book”, Larkin desired to study

and replicate new functionalities, technical improvements, and updates Plaintiffs’ programmed

between 2015-2017 into the Plaintiffs IP and software, and trading strategies – all of which was

borne from significant investment and development by Plaintiffs. Even though Defendants had


                                                   4
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 5 of 69

First Amended Complaint, Page 5


already illicitly cash-flowed benefits in excess of one million dollars annually, without

compensation to Plaintiffs. Defendants recognized the OBT Book was still inferior to the Plaintiffs

IP and original Timetrics Software, in being able to full maximize the hedging improvements and

create revenue and realized that further proprietary information and trade secrets were needed to

obtain Plaintiff’s unique updates and strategies (“Missing Pieces”).

18. In September 2016 after the Settlement Agreement, once again, Larkin in his individual

capacity, but representing himself as CEO of Northland and Hedge, re-established business

relations with Kumaran, and instead, negotiated and agreed with Kumaran, to provide him the

Missing Pieces, in exchange for both (a) substantial financial contributions in his personal capacity

to launch various hedge funds, which were as yet unformed and (b) promises and assurances that

Plaintiffs would receiving ongoing license fees effective April 2017 and revert back to the Profit

Sharing previously agreed upon from Northland and Hedge.

19. Continuing a pattern of deceit and fraud, this time Larkin was now concealing his activities

from his own employees Lothrop, Bramante, CFO and others employees at Northland and Hedge.

20. Reliant on these representations, and renewed business relations, under the express

restrictions of the Timetrics NDA, from September 2016 until around March 2017, Kumaran

invested hundreds of hours of work for Defendants Larkin, Northland and Hedge, provided

software, IP and services, disclosed trade secrets, that amassed significant financial improvements

to the hedging strategies OBT Book, for which to date it still has not received compensation.

21. Kumaran, under the express terms of the signed agreement Timetrics NDA disclosed with

express promises of renumeration of the IP and Software License Fees, and Trading Royalties,

provided Larkin during the period of around September 2016 until around March 2017 disclosure

of advanced features, designs, functionality of Trade Secrets and IP which Larkin acknowledged

and accepted use of improvements to Defendants. Defendants, Larkin, Northland and Hedge have

failed to make payments for those enhancements, improvements and features as promised and

continued to use and incorporate them in their business without compensation to Plaintiffs.




                                                 5
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 6 of 69

First Amended Complaint, Page 6


22. Defendants implemented, used and profited from those improvements in New Hampshire,

used trade secrets in interstate commerce in violation of the Defend Trade Secrets Act. The Missing

Pieces and trade secret information were disclosed under the express restrictions of the Timetrics

NDA. Larkin never fulfilled his commitments of providing the capital he promised, and despite

hundreds of hours of services to Defendants Northland and Hedge, Larkin failed to make the

compensations that were assured in royalties, profit sharing and license fees. In fact Larkin had no

intention of making those payments, as Larkin was concealing all his activities from his own

employees Lothrop and Bramante, and was only trying ti acquire further trade secrets and IP from

Plaintiffs, and then resign, fraudulently inducing Plaintiffs to numerous hours of eservices and

disclosures of software design features..

23. Plaintiffs are entitled to damages for the improper and unlicensed use of the Plaintiff’s

valuable IP and service, as well as disgorgement of profits, garnered by Defendant’s improper use

of Plaintiff’s valuable IP and service in the marketplace.

24. Defendants’ conduct additionally should be declared unlawful and enjoined, was intentional,

knowing,     with the wanton disregard of Plaintiffs’ rights, with deliberate intent to deprive

Plaintiffs’ rights to the of the fruits of their labor, and rights in and to its IP, and justifies an award

of punitive damages.

JURISDICTION AND VENUE

25. Plaintiffs bring this action to recover damages for breach of contract, misappropriation of

trade secrets, fraud and other causes of action arising out of the Timetrics NDA, Settlement

Agreement dated May 9th 2016, EULA, and other agreements, as well as an Agreement in Principle

during September 2016 until around March 2017 for services provided in New York. Plaintiffs

first uncovered or learned of the misappropriation and other causes on September 8th , 2016 and

was unaware of the activities until after that date.

26. This Court has jurisdiction pursuant to 28 USC 1332 based upon diversity, as Plaintiffs are

citizens of the State of New York, and defendants are citizens of the State of New Hampshire, and

the amount in controversy exceeds the sum or value of $75,000 exclusive of interest and costs.

                                                    6
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 7 of 69

First Amended Complaint, Page 7


27. Venue is proper in this District under 28 U.S.C. 1391(b) in that a substantial part of the events

or omissions giving rise to the claims occurred in this District, and in addition by way of Section

15 and 16 of the Settlement. 1

28. This Court also has jurisdiction under the provision under the Timetrics NDA. Paragraph
                                                                                             2
7 which identifies exclusively Choice of Law and Venue of, New York.

29. This Court also has jurisdiction under the provision under the EULA, which states in
                                                                                                        3
Paragraph 24 and 25, jurisdiction and venue is exclusively in New York, New York.

                                                    PARTIES

30. Plaintiff The A Star Group, Inc d/b/a Timetrics is a corporation, formed under the laws of the

State of New York, with a principal place of business in New York City, County of New York,

and State of New York. Principle address is 119 West 72nd Street, #204, New York NY 10023

31. Plaintiff Samantha Siva Kumaran (“Kumaran”) is an individual residing at 240 West 74th

Street, New York, NY 10023, and a United States citizen..

32. Upon information and belief, Defendant Northland Energy Trading, LLC (“Northland”) is a

limited liability corporation formed under the laws of the State of New Hampshire with its

principal place of business 500 N. Commercial Street, Suite 400A, Manchester, NH, 03101. Upon

further information and belief, Northland’s majority Managing Member and principal owner is

Richard M. Larkin , a citizen of the State of New Hampshire, who exercises majority and sole

dominion over the affairs over Northland.


1 Section 16: “Choice of Forum”: In the event of a breach of this Agreement or any other dispute arising out of this
Agreement, the Parties agree that such dispute shall be resolved through a court of competent jurisdiction in the state
of New York.”
2
  Recipient hereby attorns to the exclusive jurisdiction of the State of New York, City of New York in the rough of
Manhattan and hereby waives any jurisdiction, venue and/or inconvenient forum objections to any state or federal
court sitting in the State of New York, City of New York, Borough of Manhattan, and Recipient agrees to submit to
the jurisdiction of said courts for all purposes.
3
  Licensee hereby agrees to attorn to and submit to the exclusive jurisdiction and venue of the State or Federal courts
of New York City in the Borough of Manhattan, in the State of New York, and Licensee hereby waives any
jurisdiction, venue and/or inconvenient forum objections to any state or federal court sitting in the City of New York,
Borough of Manhattan, in the State of New York and Licensee agrees to submit to the jurisdiction of said courts for
all purposes. The parties intend that this EULA shall be enforced to the greatest extent in time, area and degree of
participation, as is permitted by law.


                                                          7
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 8 of 69

First Amended Complaint, Page 8


33. Upon information and belief, Defendant Hedge Solutions (“Hedge”) is a corporation formed

under the laws of the State of New Hampshire with its principal place of business 500 N.

Commercial Street, Suite 400, Manchester, NH, 03101. Upon further information and belief,

Hedge is an affiliate of defendant Northland, with which it shares a common owner, Richard

Larkin who exercises sole dominion and control over the affairs over Hedge.

34. Richard M. Larkin (“Larkin) is an individual residing at 32 Helen Court, Goffstown, New

Hampshire and upon information and belief is the 100% owner and President of Hedge Solutions

and the CEO and Managing Member of Northland Energy Trading, LLC with majority of the

membership interest. Upon information and belief, Larkin exercises sole dominion and control

over both entities, and is an agent of both Northland and Hedge.

35. Daniel Lothrop (“Lothrop”) is an individual residing in New Hampshire and upon information

and belief is an employee of Northland Energy Trading, LLC, and works simultaneously for both

Northland and Hedge Solutions. Upon information and belief, Lothrop is an agent of both

Northland and Hedge. His email account (daniel@hedgesolutions) however is managed by the

affiliate Hedge Solutions, who share infrastructure, capital and resources including financial

benefits from the agreements. Lothrop was one of the primary employee involved in the services

and software licenses during the period March 2014 - March 2015 which is the period of dispute

and the recipient of Plaintiffs IP and Trade Secrets during the which the misappropriations and

unjust enrichment alleged in the Complaint first started to take place.

36. Lothrop was individually a party to the EULA, his own direct acts and omissions and fraud,

involved in the services and software licenses, was individually a party and liable for the acts,

omissions and fraud which is the period of dispute and the recipient of Plaintiffs IP and Trade

Secrets during the which the misappropriations and unjust enrichment alleged in the Complaint

first started to take place.

37. Domenic Bramante (“Bramante”) is an individual residing in New Hampshire and upon

information and upon belief is a full time employee of Northland Energy Trading, LLC, and works

simultaneously for both Northland and Hedge Solutions. Bramante is a party to a Software License


                                                 8
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 9 of 69

First Amended Complaint, Page 9


Agreement with Plaintiffs in his capacity as employee. Upon information and belief, Bramante is

an employee and agent of both Northland and Hedge.

38. Bramante was individually a party to the EULA, his own direct acts and omissions and fraud,

involved in the services and software licenses during the period March 2014 - March 2015, was

individually a party and liable for the acts, omissions and fraud which is the period of dispute and

the recipient of Plaintiffs IP and Trade Secrets during the which the misappropriations and unjust

enrichment alleged in the Complaint first started to take place.

39. The Plaintiff’s IP and Timetrics Software were licensed to Defendants, exclusively under the

EULA which contained numerous restrictions and covenants for which Lothrop and Bramante are

expressly bound as an individuals 4. Both Bramante and Lothrop made numerous fraudulent
statements and omissions into New York City, as identified in Affidavits 1-3.

40. The acts, omissions, self-dealing, misrepresentations, and conduct to bind Northland, and

Hedge were also the acts, omissions, representations, self-dealing and conduct of Larkin, acting

in hits personal and individual capacity, and also as their agent and/or principle, CEO and President

and/or Managing Member of the Company(s), and further made payments of personal checks from

his individual bank accounts on behalf of representations made on behalf of the Company(s)

Northland and Hedge, and made representations and promises of futures payments to Plaintiffs

from Northland and Hedge, in consideration of his own personal gain, and interests and for the
purposes of claims asserted against him individually and personally in this Complaint.

41. The acts, omissions, misrepresentation and fraud, to enact the plan to misappropriate

technologies, software and IP onsite was made by Lothrop, Bramante, individual parties and in

their personal capacity, who wer jointly and severally parties to the EULA.

42. Samantha Siva Kumaran, is a British born, U.S. Citizen, who has had over twenty years’ risk

experience in the risk management software and services sector, in the financial services and

4
  Section 1.1 of the EULA defines “Licensee” shall mean collectively Northland Energy Trading LLC and Hedge
Solutions, Inc both New Hampshire Corporations, with offices at 500 N. Commercial Street, Suite 302A, Manchester,
NH, 03101 and its Operators, officers, directors, employees and owners all jointly and severally defined as
Licensee.


                                                       9
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 10 of 69

First Amended Complaint, Page 10


energy industry as a professional risk management consultant, and has earned First Class Honors

Masters and Bachelors in Applied Math and Theoretical Physics, from University of Cambridge’s

Trinity College, UK. She has been an entrepreneur for her entire professional life and her

businesses are minority-woman-owned small businesses

43. Kumaran’s risk management consulting experience, has primarily been in the Energy and

Commodities sector, and includes oversight of risk management departments, development of

customized risk management, hedging and risk management analytics and software, risk audit,

development of advanced market risk measures for trading floors, and advanced derivatives and

options strategies to mitigate risk and increase revenue. Kumaran spent several years as the Chief

Risk Officer at Niagara Mohawk Energy Marketing, Inc in Syracuse, responsible for deployment

and enforcement on all aspects of Enterprise Wide Risk Management, and reporting on a C-level.

44. Plaintiffs have performed risk management consulting services for Fortune 500 companies

and other clients, including Credit Suisse First Boston, AIG, Spectron Oil, FEA, Niagara Mohawk

Energy Marketing, Nomura Securities, Manitoba Hydro, ABN Amro, JPMorgan, Duke Energy

Field Services, Enron, Bristol Myers Squibb, Louis Dreyfus Commodities, Nexant, Fuji Securities,

Market Arts Software, Risk Advisory Canada, Blue Rock Energy, Giro Credit, UMS Advisory and

Winhall Consulting.

45. In 2018, Kumaran and Timetrics was featured as a Top 10 Enterprise Trading Risk

Management ETRM risk management service provider and solution in CIO Insights. Subsequent

to the Settlement, Kumaran passed the Series 3 on or about July 1st, 2016 and became a registered

commodities trading advisor (“CTA”) on April 4th 2017, to start several new businesses.

46. Larkin is also a Series 3 holder, and a registered CTA. Subsequent to the Settlement

Agreement, Larkin and Kumaran have directly competitive interests in CTA performance and

revenue creation and are competitors where performance results of hedging and trading strategies

directly ties to commercial and economic value.




                                               10
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 11 of 69

First Amended Complaint, Page 11


                                              FACTS

                                        TRADE SECRETS

47. Plaintiff’s products and services, include Timetrics Software, customized risk management

strategies, designs, reports and license to their IP. Plaintiffs’ IP were designed and built over

decades by Kumaran, and substantial time, money, research, development and highly-specialized

skills, that are not easy to find, were used to design and compile the programs and to generate the

math algorithms and output, to give Plaintiffs a commercial competitive analytical advantage.

48. Timetrics Software refers to a proprietary suite of various enterprise risk management and

analytic technologies, the underlying quantitative processes and analytical engines, methods,
techniques, for hedging and managing risk, and mathematical algorithms developed by Kumaran

for use in creating new hedging strategies for exchange traded commodity derivatives, primarily

in markets for oil and gas futures, electricity transmission contracts, and other energy futures.

49. Kumaran developed the trade secrets and its business Timetrics over a period of 25 years,

since founding her company in 1993. Kumaran is the sole owner of the intellectual property and

at no time assigned ownership, rights to any of its corporations. All intellectual property rights and

trade secrets are exclusively owned by Kumaran.

50. The hedging strategies, know-how, methods, processes, and proprietary information and IP

including but not limited to the Timetrics Software are the valuable trade secrets of Plaintiffs.

Kumaran is also the sole owner of the Timetrics Software and all associated trade secrets, including

under assignment from and license to The A Star Group, Inc.

51. Kumaran a has developed and owns the Timetrics software, service and products which were

developed over decades to calculate enterprise wide risk management. Plaintiffs, through

Kumaran’s specialized and unique math expertise, have charged significant consulting fees and

commercial license fees to clients and customers for the use, access and design of these proprietary

tools, which provide a competitive advantage in the market place.

52. At all times Plaintiffs have protected this information under strict Non-Disclosure

Agreements, non-compete and non-reverse engineering provisions, requiring the signing of


                                                 11
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 12 of 69

First Amended Complaint, Page 12


express confidentiality agreements, and protecting its use and dissemination, and further took steps

to rarely disclose the information. Plaintiffs do not disclose the trade secrets, except under the

express rubric of its own restrictive non-disclosure agreement. Further Plaintiffs restrict access to

all its Confidential Information on its servers, including but not limited to password access,

restrictive access to drives.

53. Defendants acknowledged in agreements, that Plaintiffs’ IP and Software (as defined in the

EULA ¶27 5and Timetrics NDA) shall be considered trade secrets (as defined by statute at 18

U.S.C. sec. 1839(3)), and without exception Confidential and Proprietary Information of

Plaintiffs.. and they further acknowledged and agreed that Plaintiffs IP constitutes trade secrets, of

Plaintiffs and its suppliers, licensors or subcontractors.. including further acknowledgement that

Plaintiff’s IP is the competitive intellectual property of Plaintiffs and is the crux of commercial
value and sale price of Plaintiffs’ business models and services. (Timetrics NDA ¶2.b, EULA 27)

54. Hedge is a software company that also licenses risk management software products to its retail
heating oil clients, as well as prices options for hedging price risk to customers, using a product called

Hedge Insite. Northland is an over the counter options trading company that sells customized options

to small retail heating oil distributors in the North East, and aggregates the physical obligations. It then

hedges its exposure by trading options in the Nymex market.

55. Northland’s and Hedge’s profits are derived from both the pricing at which they sell to retail

customers (with a mark-up a premium) as well as their internal associated hedging strategies to

purchase and offset options in the heating oil markets, using risk management processes.

Defendants wanted to improve the profitability of their hedging strategies, (as explained more fully

below) as their internal hedging strategies had previously achieved a certain Baseline P&L

consistently over ten years.



5
   (ii) Trade Secrets: Licensee further acknowledges and agrees that the licensed materials as defined by Timetrics Software and Timetrics
Property constitute Trade Secrets ((as defined by statute at 18 U.S.C. sec. 1839(3)), intellectual property and/or copyrighted material of
Timetrics and/or its suppliers, licensors or subcontractors. Timetrics Trade Secrets shall without exception, be considered Confidential and/or
Proprietary Information. As such Timetrics Software and Timetrics Property are the valuable Trade Secrets, commercial property and crux of
Timetrics competitive advantage. Licensee further acknowledges and agrees that the Timetrics Property is the competitive intellectual property
of Timetrics and is the crux of commercial value and sale price of Timetrics business models and services


                                                                     12
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 13 of 69

First Amended Complaint, Page 13


56. Plaintiffs provided unique software, risk management models, as well as a proprietary

Decision Support Tool, which are all the trade secrets at issue in this case. A Decision Support

Tool enables a client, to change how it makes decisions to purchase and sell a commodity. Using

an analogy, a decision support tool on whether to buy an umbrella when its supposed to rain, could

tell you to make the purchase 3 days in advance, when the first forecast of rain is out. An alternate

Decision Support Tool, could recommend you wait for the day of the forecast, and buy the

umbrella an hour before it rains, and hence either save money or reduce risk. The same principle

applies to the purchase and sale of heating oil. Plaintiffs proprietary Decision Support Tools,

uniquely change the timing, pricing, nature, volume, and strikes of which heating oil options to

purchase and how to measure the risk on that purchase, containing proprietary monitoring and

graphical interface, and risk framework designs unique to Plaintiffs, that previously never existed

at Defendants. Previously, Defendants certified in the Baseline P&L they only used an internal

methodology called Avi’s Spreadsheets and Avis Hedging (as described more fully below)

57. These trade secrets, especially in the use of the Decision Support Tool, can generate and save

clients, like Northland and Hedge, millions of dollars for a user, and substantially improve their

operations, which is why Plaintiffs charge substantial license fees, and only disclose the

information in exchange for profit sharing from the improvements and derive substantial economic

value to its business, See 18 U.S.C. § 1839(3) (defining trade secret as “information [that] derives

independent economic value ... from not being generally known to ... another person who can

obtain economic value from the disclosure or use of the information”).

58. Defendants approached Plaintiffs after stating that for over twenty years they had reviewed

many software vendors, none of which provided the features, capabilities and design of Timetrics.

Use of these Decision Support Tools, in turns allows Northland and Hedge to price more

competitively, generate more profits as it has stated it intends to sell its business at a profit, and

also gives it in turn a competitive advantage. Since Larkin and Kumaran are both CTA’s,

Defendants use of the hedging strategies, to credit its own CTA record, directly creates an unfair




                                                 13
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 14 of 69

First Amended Complaint, Page 14


competitive advantage in their ongoing use of the strategies and harm to Plaintiffs, in a competitive

environment. Plaintiffs always maintain its information in secret.

                                         ASSIGNMENT
59. Kumaran is also the sole owner, author and inventor of the IP and the Timetrics Software

and, by virtue of assignment and succession, all associated trade secrets, including under

assignment from and license to The A Star Group, Inc d/b/a Timetrics.

60. In or around 2016, Kumaran began to form various new businesses Timetrics affiliates for the

purpose of launching various hedge funds. Those businesses were formed during the period

December 2015 and May 2018 and are all to operate under the common brand name Nefertiti.

61. Because Kumaran was migrating to a new business, it was commercially reasonable for

Nefertiti not to have to purchase or redevelop all the IP, Software and trades secrets. Therefore

AStar agreed to reassign all IP back to Kumaran, to the extent those rights did not already belong

to Kumaran, in her individual and personal capacity .

62. Kumaran was the sole author, inventor and creator of Intellectual Property, Software and trade

secrets of AStar during the period 1993-2016. To avoid any ambiguity, and to the extent they did

not already belong to Kumaran, AStar and Kumaran assigned and succeeded all intellectual

property and trade secrets rights for the IP and trade secrets back to Kumaran for individual

ownership, so that they can be all individually owned by Kumaran and at its sole option, re-licensed

to the new businesses. (“IP Assignment Agreement”) which was dated September 29th, 2016.

63. Under the IP assignment as of September 29th, 2016. (i) all rights, title and ownership of
Plaintiffs IP and Software, as well as right to enforce prior agreements, including the EULA,

Timetrics NDA, and all outstanding contracts reverted to its owner and creator Kumaran and (ii)

all rights, title and interest to Plaintiff’s IP, and Trade Secrets are solely and exclusively owned

by. Kumaran. Such rights included assignment and succession of all rights to prior obligations.

64. This assignment was performed for the activities and transition to several new businesses, for

which the Plaintiff’s IP and Software would be utilized by Kumaran for advancement in its new

businesses, hedging, trading and risk management and under license and would be considered an

                                                 14
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 15 of 69

First Amended Complaint, Page 15


Intellectual Capital Contribution to the new LLC’s All rights, title and interest of all agreements

with Defendants, including the Settlement, and to the Plaintiffs IP, trade secrets, are therefore,

after September 29th 2016, now solely and exclusively owned by Kumaran in her individual

capacity including the rights in and to the contracts that are the subject matter of this action..

Kumaran is individually a party to the Timetrics NDA and Settlement.

65. All contracts, including the Timetrics NDA, Settlement and EULA and engagement permit

assignment, succession and benefit to those successors and assigns.

66. Since 2016 there has been no assignment by or any sale of any rights to the IP or Software by

Kumaran to any other business entity and Kumaran remains the sole owner of same.


                                      A - BACKGROUND

67. In or around March 2011 Defendants approached Plaintiffs to provide use of its proprietary

risk management programs and hedging strategies, in order to improve revenues at Defendant’s

business. Defendants Northland, Hedge and Larkin, approached Plaintiffs to develop specific risk

management tools, methodologies, software and hedging strategies as they specifically

established, identified and advised Plaintiff they as they did not have such capabilities onsite and

could not fulfil internally.

68. On March 21st, 2011 that the parties entered into an executed Timetrics Non-Disclosure

Agreement (“Timetrics NDA”) attached hereto, which terms and conditions remain in full force

and effect in perpetuity as defined under Section 4 and otherwise defined therein, and survived

and remain in effect (See Exhibit L1).

69. During the period from about November 2011 until March 2015 Plaintiffs provided services

and software, disclosed IP and trade secrets to all Defendants, under the numerous engagement

letters, a Terms and Conditions, and s a Timetrics Software End User License Agreement.

(“EULA”) (See Exhibit L2)

70.   The Plaintiff’s IP and Timetrics Software were licensed to Defendants, exclusively under the

EULA which contained numerous restrictions and covenants and for which Lothrop, Larkin,



                                                15
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 16 of 69

First Amended Complaint, Page 16


Bramante are expressly bound as an individuals are directly a party, as an employee who is jointly

and severally defined as Licensee. 6.

71.     The EULA and Timetrics NDA contain numerous restrictive covenants and obligations

related to the protection of IP and prohibit Defendants from creating Derivative Works. Amongst

other provisions EULA ¶6.2 and ¶6.3 states that Licensee shall not…. (v) refer to, obtain guidance

from or otherwise use any of the Timetrics Property as part of an effort to develop a model,

spreadsheet, or program having any functional attributes, visual expressions, analytic

components or other features similar to those of the Timetrics Property. The Timetrics NDA and

EULA also expressly prohibited the Defendants from creating Derivative Works See also EULA

¶1.7, Timetrics NDA ¶ 2, 3a and 3b

72.     Defendants further executed promises of highly lucrative profit sharing, ongoing license

fees, with substantial royalties payable for any revenue improvements made to Defendants

business. The agreements of those revenue sharing compensations was memorialized in

Engagement Letter signed, executed and dated October 28th 2011 and also Engagement Letter 5,
dated March 1st, 2014, which determined the provisions of revenue sharing, trading royalties, and

license fees, upon which Plaintiffs relied in moving forward with the commercial engagements.

                     B – DEFENDANTS PRIOR ART AND BASELINE P&L
73. For a period of about ten years prior, 2001-2011 Defendant’s had relied upon their trader
Aviral Chopra (“Chopra”) who had been responsible for all hedging strategies and spreadsheets

and decisions on the trading floor. had been the exclusive “trader” at Northland Energy, was solely

responsible for the hedging strategies of the Defendants. Defendant’s prior hedging strategies,

were exclusively performed under a pre-existing model developed by Chopra called “Avi’s

Spreadsheets”. Using these spreadsheets their sole decision support tool, Defendants

implemented their own prior hedging strategy called “Avi’s Hedging Strategies”

6
  Section 1.1 of the EULA defines “Licensee” shall mean collectively Northland Energy Trading LLC and Hedge
Solutions, Inc both New Hampshire Corporations, with offices at 500 N. Commercial Street, Suite 302A, Manchester,
NH, 03101 and its Operators, officers, directors, employees and owners all jointly and severally defined as
Licensee.


                                                       16
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 17 of 69

First Amended Complaint, Page 17


74. Avi’s Spreadsheets and Avi’s Hedging Strategies were the only basis of hedging strategies

and risk management that were used by the Defendant in the management of risk and hedging

prior to the engagements with Plaintiffs in 2011. The models, spreadsheets and hedging strategies,

graphical interfaces, visual expressions, formulae and approach used by Defendants in Avi’s

Spreadsheets and Avi’s Hedging Strategies were vastly different from and did not contain any of

the Plaintiff’s IP and were developed independently and implemented before Plaintiffs were hired

to work for Northland.

75. Larkin also admitted that Defendants had reviewed dozens of software vendors over twenty

years, none of whom actually provided fresh or innovative thinking or solutions they could use,

and identified that Plaintiffs; solutions were unique. In exchange for this, Larkin by signature in

Engagement Letter 5 dated March 1st, 2014 in Appendix B.
76. Of specific value Plaintiffs added were both the risk management frameworks, but also a new

and revolutionary Decision Support system that Defendants had not conceived, which changed the

(a) timing (b) strategy (c) graphical interfaces (d) execution such as volumes and strikes, all of

which are the trade secrets of Plaintiffs, which are designed to improve revenues at Defendants,

for which Defendants had allured Plaintiffs to disclose in exchange for substantial profit sharing,

all of which are the trade secrets of Plaintiffs

77. Defendants, admitted and certified in the engagement letters, that they had previously not used

any other hedging strategies for the management of their heating oil book other than Avi’s

Spreadsheets and Avi’s Hedging Strategies from which they were anxious and keen to review and

obtain disclosure of Plaintiff’s IP and trade secret methodologies and techniques to improve their

revenue, from which both parties, would have long term profit of mutual benefit, constantly

promising substantial profits sharing, incentive bonuses and lucrative license fees, as part of a

multi-million dollar long term contract.

78. Defendants also acknowledged that they did not possess and did not have any risk

management systems, tools or analytics or Middle Office controls, with no independent risk tools,

as oversight to supervise the activities of the trader. Therefore Plaintiffs were retained and


                                                   17
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 18 of 69

First Amended Complaint, Page 18


disclosed its IP and Software, in response to a need that Defendants specifically identified and

advised Plaintiffs it could not fulfill internally and were missing capabilities onsite.

79. Therefore Plainttiff’s hedging strategies, IP and software program were licensed, provided by

Plaintiffs specifically in response to a need the Defendants admitted they did not have prior to

Plaintiff’s retention, and to fill a need and gap in their internal hedging strategies, models and

spreadsheet capabilities, and to improve their Decision Support. Further acknowledging that they

did not have or use such processes prior to the engagements with Plaintiff, were specifically

retained to improve existing hedging strategies, which were based on internal models developed

by a former trader Chopra and called “Avi’s Spreadsheet” and “Avi’s Hedging Methodologies”,

and which was used as the basis of the audit of the Baseline P&L.

80. Because of the performance of Plaintiff’s IP and Software needed to be quantified, for

Northland to honor the performance incentive compensations, as part of the engagements, during

the periods approximately between February 2013 until February 2014, under Engagement Letters

3 and 4, services included a detailed audit of Avi’s Spreadsheet and Avi’s Hedging Strategies from

which a Baseline P&L could be determined, from which any improvements made using Timetrics

Software and Plaintiff’s IP would be made.

81. The Baseline P&L reflected the previous profits and losses over the prior years what the

Northland and Hedge had generated in profitability from their existing hedging strategies, using

Avi’s spreadsheet and Avi’s hedging strategies on a per gallon basis. Therefore this measurement

of Baseline P&L was material and fundamental in the consideration and agreement to provide

services, software and disclose its trade secrets and Plaintiff’s IP.

82. The final Baseline P&L was signed and agreed to by the parties in Engagement Letter 5, in

Appendix B on March 1st, 2014 as the performance metric of Baseline P&L upon which any

improvements made by Plaintiffs revenue to Defendants would be measured, and from which all

damages are accountable from. The Baseline P&L was calculated from a detailed and

comprehensive book audit which spanned a period of about 12 months, from which the parties

both executed an agreement on its calculation, which Larkin signed and certified as accurate.


                                                  18
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 19 of 69

First Amended Complaint, Page 19


83. The contracts explicitly agreed that any improvement made to Northland’s revenue over and

above the certified Baseline P&L, Plaintiffs were entitled to compensation in the form of a Monthly

Trading Royalty which was calculated as a percentage of the Monthly Trading Improvement, as

well as ongoing, License Fees on a quarterly basis, in perpetuity for their ongoing use. Given that

significant volume and gallons were to be placed onto the book, Defendant’s contracts

demonstrated substantial economic value, and was part of a multi-million dollar contract.

84. In 2013, continuing to be satisfied and pleased with performance, Defendants continued to

request further use and disclosure of the IP and software. In several meetings, including but not

limited to at the Ritz Carlton in Battery Park City in New York City, Plaintiffs met with Larkin in

or around March 2013, and provided him detailed descriptions of the revised framework for

hedging, and risk management software for Northland’s license. The design, graphical interfaces

and approaches had been built, based on two decades of dedicated risk management experience,

Kumaran’s unique skills in applied mathematics, from which Plaintiffs had built a proprietary risk

consulting company boutique over two decades and were trade secret techniques of Plaintiffs
85. These in depth description were proprietary knowledge, know-how were intended to make

substantial revenue improvements to Northland which, reliant on the significant profit sharing and

License Fees Plaintiffs explained in detail to Larkin based on his allure and promises of significant

Monthly Trading Royalties and IP and License Fees and were disclosed subject to the express

restrictions of non-use under the Timetrics NDA, EULA and other engagement letters. Planitiffs

at all times performed and met its obligations under the Engagement Letters.


C - MISAPPROPRIATION BEGINS

86. In or around June 2014, after Chopra’s resignation and now needing to fill numerous gaps in

internal resources and capabilities, Defendants had no intention of using the PILOT for its intended

use, but instead hatched a scheme, to mis-use the PILOT of Plaintiffs’ IP and Software to instead

misappropriate and secretively replicate duplicate a shadow spreadsheet onsite to supplement their

risk management capabilities, in express breach of EULA, Timetrics NDA and other agreements .

(See EULA, Para 1,7, 6.2,6.3, Timetrics NDA 2, 3a, 3b).

                                                 19
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 20 of 69

First Amended Complaint, Page 20


87. In accordance with the Engagements and EULA in or around June and July 2014, the parties

conducted a Factory Acceptance Test (”FAT Test”) on various components of the Timetrics

Software, as defined under Section 9.6 of the EULA, for the sole purpose of Defendants certifying

their acceptance before use in a trading floor environment.

88. Defendants expressly agreed the FAT Tests would not be used to develop a duplicate system.

and if they were to misuse such detailed disclosures during the FAT Test to supplement internal

risk management models and spreadsheets onsite, License Fees would be retroactively payable to

Plaintiffs from August 2014. See Eng Ltr L5, P17, EULA, P9.6, P6.2, 6.3, NDA Para 3

89. In accordance with the Engagements and EULA, starting around June 2014, and reliant on

the restrictions therein, Plaintiffs provided line-by-line source code and detailed formula and

testing of its IP and software, called a Factory Acceptance Test (“FAT Test”) for Defendants to

certify their acceptance of the hedging and risk programs for use in a production and trading

environment.

90. However, using the FAT Test as a “guidance” system, Unknown to Plaintiffs at the time,

brazenly violating the EULA, Timetrics NDA and Engagement Letters, Lothrop and Larkin

misappropriated Plaintiffs programs and IP using the FAT Test as a “guidance system” from which

to create Derivative Works, create a replicated spreadsheet model, to mimic the functions, design

of Plaintiff IP and Software, including the risk monitoring framework, in express breach of the all

agreements – misappropriated Plaintiffs programs and IP. Defendant went further to call its copy-

cat system the “OBT Book” – a Derivative Work and willful infringement of Plaintiffs’ IP and

breach of the EULA and NDA. all fraudulently concealed.

91. Larking and Lothrop materially breached the EULA, Timetrics NDA, created a copycat risk

monitoring and hedging systems, as well as Derivative Works, transferring the capabilities into

internal Licensee’s systems and spreadsheet to secretly work as a shadow-system onsite at

Northland’s New Hampshire offices, without Plaintiffs’ knowledge and consent.

92. Lothrop was instrumental in the misappropriation, duplications and creation of the Derivative

Works, in unlawfully creating, modifying and adapting the OBT Book, which were wholly based


                                                20
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 21 of 69

First Amended Complaint, Page 21


on the IP and Trade Secrets provided by Plaintiffs under the express restrictions governed by the

EULA, Timetrics NDA and other engagements. Acting in concert with Larkin, Lothrop also

materially breached the agreements to create a “shadow system” for his own personal use and

gain, them modifying, adapting, and making alternative versions, to supplement his own lack of

internal technologies. 7

93. Defendants knew they did not have the internal systems or risk management tools, or training

from Chopra’s systems, and intentionally sought to migrate Plaintiffs IP onsite for ongoing internal

use, creating Derivative Works of the software to supplement the lack of technology that

previously did not exist onsite at Northland and Hedge.

94. Larkin recognized that Lothrop may have been a lower cost human resource, acted with willful

and malicious intent and scienter, to cut Plaintiff’s out of their License Fees and Monthly Trading

Royalties. He sought to keep the fraudulent activities concealed from Plaintiffs and intended to

eventually migrate the technologies onsite for Lothrop to use, with willful intention to not pay the

Licensee Fees for onsite use or for the Derivative Works.

95. Larkin and Lothrop conducted testing of the Derivative Works and it eventually became

operational in August 2014 to secretly work as a “shadow system” alongside Plaintiffs’ IP aided

and abetted by Bramante, the Derivative Work became as a full production system in 2015 thereby

depriving Plaintiffs of their license fees, royalties and share of trading profits.
96. Once the program was slated for a Pilot during the period August 2014 to March 2015, Larkin,

Lothrop and Bramante, instead of complying with the express conditions of the Pilot test, designed

to benchmark profitability, then set about a plan to both sabotage the results, and in parallel run a

clone program. The actions to sabotage, notably by employee Lothrop, in fact backfired and caused

significant losses and damages to Defendant’s business, after he breached numerous aspects of the

engagement, while trying to create his duplicate clone, placing dozens of unauthorized trades into


7
 Para 17 states, Northland expressly agrees and understands that it shall not replicate the reports delivered … into
Licensee's spreadsheets or Licensee Systems … for use in an ongoing manner by virtue of the work done in the FAT
Test. Should such replication occur for ongoing use, License Fees shall immediately be charged at the License Fee
Type B rate, retroactive to the date of replication and shall be perpetual for all ongoing use.]


                                                        21
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 22 of 69

First Amended Complaint, Page 22


the account, miscalculating margin and cashflow and violated regulatory compliance laws for

“speculating” and not “hedging” in an FCM account.

97. No sooner had the PILOT started, Lothrop transferred dozens of unauthorized transactions

into the dedicated FCM account, rendering it impossible to reconcile margin, cashflow and

performance on Plaintiffs IP, and leveraging value from the PILOT for out-of-scope services for

Northland’s sole benefit and reduce compensation to Plaintiffs, rendering performance impossible.

98. Defendants, without Plaintiffs knowledge, had in fact already deployed the copycat risk

monitoring system, which had become operational and functional, in August 2014 to secretly

work as a “shadow system” alongside Plaintiffs IP without my knowledge and consent, so that

Defendants so that they could misuse the PILOT to conduct parallel testing, and simultaneously

use the efforts to support other activities from Northland business, without compensating Plaintiffs

for their share of royalties and license fee.

99. As stated with peculiarity in Affidavits 1-3, and incorporated herein, during the period August

2014 – March 2015 Lothrop, Bramante and Larkin made repeated fraudulent statements, on

specific dates and times, to misrepresent the use of the PILOT, conceal the OBT Book, and also

conceal the dozens of unauthorized transactions, which were synthetic futures.

100. Completely unaware of the onsite duplicate efforts to create and implement the OBT Parallel
system, and misled to believe that the books matched exactly with Plaintiffs, Plaintiffs reported

consistently in Weekly Revenue Share reports, that Larkin and Bramante certified and accepted, after

months of dedicated, over and above time and effort, Plaintiffs reported on Nov 3 2014, P&L Trading

improvements of over 272% and 390% relative to Northland’s certified. Baseline P&L, Bramante

and Larkin certified these as correct and “OK” and “approved” by Northland.

101. On November 21, 2014, Defendants further agreed and certified on the Weekly Revenue Share
report, increased trading revenue to Northland by about 625% and 862% such amounts again were

agreed as certified as accepted and OK by Northland in email by use of to Plaintiffs hedging strategies.

102. At no time did Larkin or anyone at Northland dispute or question the Weekly Revenue Share
statements, the significant financial improvements made to Northland, the trading royalties due to


                                                  22
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 23 of 69

First Amended Complaint, Page 23


Plaintiffs and other reported measures of cashflow and margining – all of which were accepted as

satisfactory in writing by Bramante and “OK” by Northland. Larkin further did not ever dispute a

trading royalty statement as required by the Engagement Letter 5 Sec 9.c.(i),(ii)(ii), thereby rendering

the account stated.

103. Defendants knew they wanted to acquire more IP and trade secrets, as well as study and

examine the hedging strategies, and intended to propagate the fraud for the entire PILOT,

concealing the activities so that Plaintiffs would continue to provide improvements and

recommendations to business operations.

104. These willful and malicious actions were orchestrated and conducted by Lothrop, Bramante

and Larkin, in express breach of Eng Ltr 5, which was intended isolate and benchmark the

performance of the PILOT the parties agreed so that it would be paid its fair share of royalties and

License Fees.

105. On February 3rd, 2015, Defendants certified and accepted that using Plaintiffs IP and Hedging

Strategies and Software, had generated profits over a 766% improvement from the Baseline P&L-

more than seven (7x) times what was previously achieved by Northland on similar gallons. From

this Defendants were obligated to pay substantial trading royalties. This was achieved despite

recovering a significant loss, caused by Lothrop attending a Webinar, leaving the trading floor

unsupervised, and subsequently having to perform out-of-scope services.

106. Nonetheless, signifying a long pattern of chronic late payments, Defendants then failed to pay

the royalties and profit sharing that were due timely in early February and no later than February

15th, 2015 even though they had admitted the profits had been achieved in this account.

107. Lothrop , Bramante’s and Larkin’s efforts to derail Plaintiff’s share of the profits, by not

transferring premium, were also sabotaging performance of program, requesting out of scope of

services without consent, to expand benefit for Northland unauthorized activities, diminishing the

share of revenues to Plaintiffs and misusing the technologies for their internal profits.

108. As a result of the obstructions, delays and duplications by Lothrop, Bramante and Larkin and

believing the clone was adequate to cut Plaintiffs out of their futures Licensee Fees and Royalties,


                                                  23
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 24 of 69

First Amended Complaint, Page 24


Defendants tried to take over the program, by withholding both gallons and customer premium to

lower Plaintiff’s share of profits.

109. Defendants plans however again backfired, through the negligence and unauthorized trading

of Lothrop when they failed to meet an intraday margin call, and Northland had failed to operate

the account with the necessary customer premium and upon belief incurred significant losses as

they were unable to post margin on the combined book resulting in an avoidable loss. (Lothrop

Premium Loss).

110. On or around February 18th, it was uncovered in email and IM, that Defendants had in fact

continued their fraud to conceal numerous unauthorized synthetic futures, in the FCM account

with negative balances, and were also violating the Commodities Exchange Act, to speculate and

not hedge, in numerous activities in margin management, solely Bramante and Larkin’s

responsibilities. (See Affidavit 1-3)

111. After a long pattern of chronic late payments, Defendants then failed to pay numerous

invoices to Plaintiffs in 2015. This resulted in a Plaintiffs bringing action in state court, transferred

to Federal Court in this Southern District, in the aforementioned action, to collect on the non-

payment of invoices and the parties entered into Settlement discussions.

                                        D – SETTLEMENT

112. The parties during their Settlement negotiation had numerous discussions directly. During

telephonic phone calls that occurred on April 2016 until May 2018 and numerous other days and

times, including May 2nd, May 4th and May 8th 2016. Larkin phoned Kumaran from either his office

or home located at 32 Helen Court, Goffstown, New Hampshire or his office at 500 North

Commercial Street, Manchester, New Hampshire using his cellphone 603-315-3908 to Ms.

Kumaran who received the phone calls on the telephone number 212-431-5098 who was located

at her home and office located at 240 West 74th Street, New York, NY. 10023 to make these

statements, that denied Defendants had migrating their hedging strategies to a Derivative Work,

now called OBT Book, to mimic Plaintiffs strategies.



                                                   24
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 25 of 69

First Amended Complaint, Page 25


113. In making these statements, Larkin, acting as President of Hedge and CEO of Northland and

was representing Northland and Hedge as a whole. Manifesting this pattern of deceit, these

material representations were false, as Larkin was concealing the derivative and duplicative

version of the OBT Book, which Lothrop, Larkin, Bramante and Defendants had deliberately

replicated starting in or around August 2014, had transferred approximately 10,000,000 gallons,

and were cash-flowing improvements without compensation to Plaintiffs. His representations,

were fraudulently concealing the willful breaches of the Timetrics NDA and EULA and other

agreements.

114. Those statements were false as Defendants were at the time of the fraudulent statements

already incurring benefits and profitability also well over 700% over their Baseline P&L, having

studied, observed from Plaintiffs PILOT, carefully mimicking the strategies, which Larkin wanted

to conceal from the Settlement discussions, so that Plaintiffs would not pursue discovery and

without knowledge of the activities would accept a quick “hit and run” payments, and to cause

financial harm to Plaintiffs to not pay them the License Fees and Royalties.

115. Specifically as part of the fraudulent conduct, in meetings had at Margot Café at 230 West

74th Street, New York, NY on or around Monday May 9th 2016, Larkin met with Kumaran in
person where Larkin, continued to make false statements and representations that Defendants

reverted back to their old methodologies, under Avi’s Spreadsheets and Avi’s Hedging
Methodologies and were not using revised hedging strategies , risk management frameworks and

IP and Software disclosed by Plaintiffs. Such states were false at the outset and contained material

omissions about the real business activities which was being concealed by Defendants to induce

the Settlement.Further, with full knowledge of the OBT Book, in this meeting at Café Margot

Larkin further provided false information and materially omitted that all Defendants had in fact

referred to, obtained guidance from or otherwise use any of the Timetrics Software as

part of an effort to develop a program (or have a third party develop a program) having

any functional attributes, reports formats, visual expressions, analytic components or

other features similar to those of the Timetrics Soft ware (see Eula 6.2, 6.3)


                                                25
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 26 of 69

First Amended Complaint, Page 26


116. Further, on May 9th 2016, in meetings in New York City, Larkin met with Plaintiffs, Kumaran

and also their counsel, including at their offices on 42nd Street, Larkin, Northland and Hedge,

represented and warranted that they did not have in their possession, and would not retain, or use,

modify, reverse engineer, or otherwise misappropriate the Plaintiffs’ IP, as previously, and further

described by the full language of the contract contained within (See Exh. L3)

117. In addition to the meeting at the Café Margot at 230 West 74th Street, specifically on or

around May 9th 2016, and also during numerous telephone conversations from his Defendant

Larkins cellphone on May 4th, May 6th and other dates to Plaintiff’s residences in New York City,

Defendant Larkin continued to make material omissions, fraudulently conceal, mislead, and

misrepresent that Defendants had created an OBT Book, to migrate portions of their business into

Derivative Works of Plaintiffs IP to improve their hedging strategies, instead specifically

misleading Plaintiffs that they had solely reverted back to Avi’s Spreadsheets and Avi’s Hedging

Methodologies. This information was false when stated and intended to mislead..

118. Defendants knew, however, that Defendants did have Plaintiffs IP and Software and hedging

strategies in their possession, and were in fact using Plaintiffs IP as a Derivative Work called the

OBT Book by cloned by Lothrop, Larkin and Bramante to generate substantial profit in their

business, without compensating Plaintiffs for its share of the royalties and IP Licenses.

119. Defendants made these representation and warranties in order to induce Plaintiffs to agree to

and execute the Settlement, notably provision 4, which was intended to cut Plaintiff out of its fair

share of their license fees, royalties and profits sharing.. Plaintiffs in reliance on Defendants’

representations and warranties, did in fact agree to and execute the Settlement.

120. Because of the fraudulent conduct of all Defendants described hereunder, to materially

conceal the OBT Book and Derivative Works and replications of IP for close to two years,

Plaintiff’s did not have full knowledge in May 2016, of the facts related to misappropriation and

unjust enrichment, or the existence of the OBT Book and spreadsheet risk management clones,

that they have subsequently learned after September 8th, 2016,and the fraudulent representations

and warranties made by Larkin (see supra) in May 2016 to induce the Settlement, Plaintiffs were


                                                26
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 27 of 69

First Amended Complaint, Page 27


fraudulently induced by concealment to execute the Settlement, therefore dd not pursue discovery

on the claims in the original claim for February Invoices, which Larkin presumably knew and

wanted to avoid, purposefully, and intentionally fraudulently executing a quick Settlement.

121. On May 9th, 2016, Plaintiffs entered into a “Mutual Release and Settlement Agreement”

(hereinafter the Settlement”) with Defendants Larkin, Northland and Hedge.

122. As material consideration of Plaintiff’s agreement to even enter into the aforementioned

Settlement Agreement, was the representations and warranties made by Defendants, that they had

not and were not using Plaintiff’s IP, which included trading strategies, hedging strategies, and

Derivative works of Plaintiff’s IP, which they had acquired by the Timetrics Software Licenses.

123. But for all Defendants intentional, malicious and fraudulent acts to conceal the OBT Book,

and profits derived therefrom for a period of about two years, and still conceal it at the time of may

2016, no settlement would have occurred, and neither would Plaintiffs have agreed to Section 4.

124. Reliant on the misrepresentations, Plaintiffs wrongfully were induced to agree to several

provisions of the Settlement, including but specifically Section 4 that established that although

several “Engagement Contracts” at issue in the underlying lawsuit, (except and specifically

excluding the Timetrics NDA) would be terminated pursuant to the Settlement, “the Parties agree,

however to the intellectual property and related provisions set forth on Exhibit A, attached hereto

and made a part hereof, which provisions shall survive. “In particular, Larkin, Northland and

Hedge, “represented and warranted” as follows:
        [T]hat neither of them has in their possession any of the Timetrics software that was
        involved in the Lawsuit (“The Timetrics Software”); they each agree that The A Star
        Group owns the Timetrics Software, and hereby disclaim and shall not retain or asset any
        right, title or interest in and to the Timetrics Software and they each agree not to use,
        duplicate, reverse engineer or otherwise misappropriate any Timetrics Software, and that
        they are not using and will not utilize in the future any strategies learned from the trading
        recommendations from the Timetrics Software to improve NT Parties trading or
        hedging revenue and/or any other consulting recommendations provided by Timetrics
        under the Engagement Contract to improve NT Parties trading or hedging revenues.

125. The Settlement while it attempted to prima facie resolve any and all such claims, such

resolution was subject to, however, the above representation that Defendants were bound to honor

the Intellectual Property rights of Plaintiffs in the several ways outlined above, but generally to


                                                    27
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 28 of 69

First Amended Complaint, Page 28


concede Plaintiffs’ ownership of the various aspects of Plaintiffs Intellectual Property, to not retain

or use Plaintiffs’ IP, and to not subsequently attempt to duplicate, mimic, reverse engineer, or

otherwise misappropriate the property of Plaintiffs on an ongoing basis, as the Defendants

generally acknowledged that the hedging strategies, software, programs, design, techniques,

methods and models of Plaintiffs encompassing their IP and Software were valuable trade secrets,

designed to improve revenue and profitability of clients, and from which Plaintiffs derived

substantial economic value.

126. The several in-depth ”Intellectual Property Provisions” to which Defendants agreed were

attached to the above referenced Settlement. .

127. The Settlement acknowledges in Section 9 that Defendants “have carefully read this

Agreement, and understand its terms and conditions without reservation[,]” of which “Exhibit A”

was a constituent part of the terms and conditions of the whole agreement. Defendants concealment

of the OBT Book and Derivative works, revised hedging strategies and risk management modules

copied from Plaintiff’s IP and Software was therefore willful, intentional, malicious, intentional,

foreseeably calculated to not pay Plaintiff’s their license fees, royalties and profit sharing.

                                   E – RENEWED BUSINESS

128. After now implementing their version of the copycat “OBT Book”,                Larkin stayed in

communications as Kumaran acquired it Series 3, and became a registered commodities trading

advisory (“CTA”) Larkin who is also a registered CTA. Larkin desired to study and replicate new

functionalities, technical improvements, and updates Plaintiffs’ programmed between 2015-2016

into the Plaintiffs IP and software, and trading strategies – all of which was borne from significant

investment, cost, time and development by Plaintiffs.

129. Even though Defendants had illicitly already cash-flowed benefits in excess of one million

dollars annually, without compensation to Plaintiffs, and fraudulently concealing the activities

from Plaintiffs, Larkin, Northland and Hedge recognized their Derivative Work OBT Book was

still inferior to the Plaintiffs IP and original Software, in being able to fully maximize hedging



                                                  28
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 29 of 69

First Amended Complaint, Page 29


improvements and create revenue and realized that further proprietary information and trade

secrets were needed to obtain Plaintiff’s unique updates and strategies (“Missing Pieces”).

130. In September 2016 after the Settlement Agreement, Larkin in his individual capacity, once

again, re-established business relations with Kumaran, and instead, negotiated and agreed with

Kumaran, to provide him the Missing Pieces, in exchange for both (a) substantial financial

contributions in his personal capacity to launch various hedge funds and (b) promises and

assurances that Plaintiffs would receiving ongoing license fees effective April 2017 and revert

back to the Profit Sharing previously agreed upon.

131. Subsequent to the Settlement in or around early September 2016, the Parties, agreed to

formulate new business agreements, with Larkin acting in his personal capacity, as a party to those

arrangements. In these arrangements, the Larkin made promises to provide additional capital to

Kumaran, in the launch of various new businesses and affiliates and also represented and as a

bilateral part of that agreement, represented and agreed Defendants Northland and Hedge would

also make payments and renumerations to Plaintiff and in exchange Plaintiffs continued services,

software and access to their IP and trade secrets.

132. However, at no point subsequent to the execution of the Settlement did Plaintiffs re-license

or otherwise permit or warrant Defendants right, title or interest, to utilize their IP or Timetrics

Software, without compensation to Plaintiffs.

133. All discussions, disclosure and confidential dealings related to the new business arrangements

were made pursuant to executed the Timetrics NDA which terms and conditions remain in full

force and effect in perpetuity as defined under Section 4 and otherwise defined therein, and

survived and remain in effect. Under the Timetrics NDA, Plaintiffs disclosed information about

Timetrics affiliates, is protected under Paragraph 2.

134.    On or around August 4th 2016 at The View Restaurant in New York City, where Larkin

and Kumaran reconvened, Larkin admitted the value that Plaintiffs had brought to the Defendants

in their fresh and innovative thinking and stated that in his twenty years of business he had met




                                                 29
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 30 of 69

First Amended Complaint, Page 30


several other software vendors and none of them had deliver or licensed products that actually

created value.

135.    The parties also discussed the losses that had been caused, in trying to recovered Lothrop’s

Webinar Loss, and the extended cashflow and margin risk that had been approved by Larkin which

was out of scope. Both parties recognized that without having to recover the Lothrop Webinar

Loss, these events would not have transpired and these losses could have been avoided.

136.    Without either party’s admission of blame, and in an effort to repair relations, and reliant

on the promise that Larkin now personally agreed to contribute substantial capital to personally

assist Kumaran launch a hedge fund and because the trading strategies and programs had

demonstrated they could recover such losses in short turn around times Kumaran agreed, as part

of the bilateral deal that any prior loss could be recovered, regardless of who incurred it.

137.    Larkin however, at all times fraudulently concealed and materially omitted from Kumaran

at The View, and in subsequent telephone conversations during August 2016, and September 6th
2016 from his home in Goffstown NH to Plaintiffs home in NYC (including calls on August 16th,

September 4th 2016) that Defendants had in fact implemented and gone live with a Derivative

Work clone, which they had called the OBT Book, already recovering Lothrop’s losses. These

omissions were fraudulent and material to reenact an Agreement in Principle, for the Plaintiffs to

continue to disclose valuable hedging strategies and software designs and IP.
138.    Larkin fraudulently concealed, that all Defendants had in fact “gone live” and started

transacting with migrating part of their book, into the new Derivatives Works created from

Plaintiff’s IP, and were and had been cash-flowing profits to Defendants business, without paying

previously agreed upon license fees and profits sharing to Plaintiffs.

139.    During communications both in emails and phone call, including specifically those on

September 6th, 2019, Larkin intentionally and materially misrepresented that Kumaran’s

reengagement with Northland and Hedge, would be to “re-hedge” Lothrop existing deals at

previous Baseline P&L margin, which had reverted to Avi’s spreadsheets and Avi’s hedging

strategies, materially concealing the Derivative Works. In fact, Larkin continued to insist that


                                                 30
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 31 of 69

First Amended Complaint, Page 31


Lothrop not know about his plans to have Kumaran re-hedge the deals and Kumaran even offered

to take the deals out of the money.

140. Therefore Kumaran was still misled to believe, that Defendants had not modified their

hedging strategy or created derivative works, and its bilateral deal was to perform services that

Larkin was dissatisfied with on Lothrop’s original hedges and Baseline P&L. Larkin also set about

a plan to keep his dealings confidential from Lothrop and Bramante, and stated he wished to have

Kumaran manage aspects of Northland’s book in separate and concealed FCM Accounts.


                              F – AGREEMENT IN PRINCIPLE

141.    As material considerations of the renewed business, Kumaran and Larkin etched out an

Agreement in Principle during the months of August 2016 – September 2016 which had several

material components. They included (a) Larkin would contribute on a significant financial capital

contribution to start a hedge fund, as yet unformed, under the name Nefertiti Asset Management,

LLC (“NAM”), which was finally formed in May 2018. The material provisions were that Larkin

had no ability to terminate his capital contribution for two years at-will. (b) Larkin would become

a principle and fiduciary of these entities and own more than 10% of the Delaware LLC. (c.)

Larkin would sign NDA’s directly with the new entity and abide by confidentiality and arbitration

provisions with the new entities. The parties expressly agreed to resolve any differences under

Arbitration, and the hedge funds operating agreement would have mandatory arbitration.

142.    Further, as part of the bilateral deal, in consideration of Larkin’s substantial full non-

terminable capital contribution for two years to launch the hedge fund, Plaintiffs would provide

services for Northland and Hedge, in exchange for (d) salary bonuses at target milestones of

performance, and (e) would disclose further IP and trade secrets (subject to the Timetrics NDA)

with the original License Fees and Royalties being reverted to from April 2017 from Northland

and various profits sharing at original rates, and (f.) the trading programs, would recover the

Lothrop 2015 loss, after which further revenue sharing would occur, effective immediately from

September 2016.



                                                31
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 32 of 69

First Amended Complaint, Page 32


143. On or around September 8th 2016, as a result of both telephonic communications and emails,

in particular in an email dated September 8th 2016, Plaintiffs learned that Defendant had continued

to utilize, and was presently using protected Plaintiffs’ IP, as countenanced by the prior Settlement,

Timetrics NDA, EULA and also by improper acquisition of trade secrets, and in violation of the

DTSA and New York law without a license.

144. By admission on this date Larkin admitted that Defendants, had gone on to utilize the cloned

OBT Book version to use in a production environment, and Larkin promised that Northland and

Hedge would reinstate software license fees and trading royalties at previously negotiated rates,

effective April 2017.

145. Particularly, Plaintiffs discovered that Defendants had not just retained, but created derivative

techniques, processes, methods, software, hedging strategies of Plaintiff’s IP, in part by first

obtaining or inducing disclosure under restrictive non-disclosure agreements, retaining protected

Plaintiffs IP, and elsewhere by duplicating, mimicing, creating derivative works and other aspects

of Plaintiff’s IP which were not retained subsequent to the Settlement; and for both prior to and

subsequently modifying, and internally developing and improving upon the hedging strategies,

spreadsheets, models to create similar models and methods and to adapt the principles and

methods originally encompassed by and covered within the terms of the original Settlement

concerning Plaintiff’s IP.

146. The above-reference course of action was in violation of the Settlement agreement, a violation

of the Timetrics NDA, EULA and all other Engagement Letters, and constituted a breach of

confidentiality and unlicensed use which Defendants had explicitly represented and warranted they

would discontinue, and whereby Plaintiffs were damaged by the improper use and disclosure of

their valuable IP and the profits derived from its use. Plaintiffs learned that Defendants had –

through the use of Plaintiffs’ IP and the modified and similar developed processes, methods,

analytics tools, strategies and software - profited in excess of $1 million dollars, through the

present date, by utilizing the analytics and hedging strategies generated in Defendants’ business

operations, to trade commodities and energy futures.


                                                 32
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 33 of 69

First Amended Complaint, Page 33


147. Given Defendants’ acknowledgement of careful reading and full understanding of the terms

of the Settlement and the subsequent retention of the protected Plaintiffs IP, in derogation of the

terms, Defendant’s course was willful, knowing, and purposeful; in addition, Defendants

subsequent development, modification, and of the Plaintiffs’ IP, Timetrics Software, strategies,

designs, processes, models, analytics, and software was concealed from Plaintiffs in order to be

successfully implemented by Defendants as a and hedging strategy and to supplement missing risk

management monitoring tools, without paying for the license it.

148. Defendants, in full knowledge of the duties imposed upon Defendants by the prior Settlement,

fraudulently concealed their improper retention, subsequent development modification, and of the

Plaintiffs models, analytics, methods, techniques and software from Plaintiffs until approximately

September 8th, 2016.
149. Further this conduct also expressly violated the Timetrics NDA. While Plaintiffs have

performed all its obligations under the Timetrics NDA, it was also learned Defendants were

knowingly in breach of the following specific provisions of the Timetrics NDA, including but not

limited to (i) Section 2.b (ii) Section 3a and Section 3.b (iii) as well as other obligations contained

therein to protect and not-use Confidential Information.

                          G – UNPAID SERVICES AND RELIANCE

150. Larkin, acting as the CEO of the Defendants Northland and Hedge, as an individual, however

continued to assure Plaintiffs that compensation was forthcoming, and royalties, license fees and

other renumeration would be made effective immediately between the period September 2016 until

March 2017 and also in full reinstatement of previously foreseeable renumerations after April

2017, to continue to induce further disclosure of IP and trade secrets.

151. In In telephonic phone calls and emails that occurred on September 8th 2018, and September

9th, 2018 and numerous other days and times in the month of September and October 2016,

Richard M. Larkin phoned Kumaran from either his office or home located at 32 Helen Court,

Goffstown, New Hampshire, or his office at 500 North Commercial Street, Manchester, New

Hampshire using his cellphone to Ms. Kumaran who received the phone calls on the telephone

                                                  33
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 34 of 69

First Amended Complaint, Page 34


number 212 431 5098 who was located at her home and office located at 240 West 74th Street,

New York, NY. 10023, Larkin promised and assured the parties would move forward from the

past, and that license fees, royalties and profit sharing would be reinstated by Northland

152. As part of the new business arrangements, Larkin agreed and represented and promised that

in his personal and individual capacity, that in exchange for Larkin’s individual and personal

[payments, and] capital contributions, Northland and Hedge would make numerous renumerations

of compensation for services, salary bonuses, software, license and Plaintiff’s IP, including but not

reinstate various engagement contracts effective April 2017 at previously agreed upon commercial

terms and rates from Northland and Hedge.

153. Furthering Larkin’s misrepresentations and promises of renumerations, numerous telephone

communications occurred during the period September 2016 and December 2016, including after-

hours meetings with Kumaran and Larkin at The View at Times Square New York City, on August

4th, 2016, the Marriott Hotel on West 57th Street, in New York City, on or around December 16th
2016, located in New York City and at the Tavern on the Green in New York City.

154. Reliant on Northland, Hedge’s and Larkin’s promises and commitments, Kumaran disclosed

numerous confidential information of Timetrics affiliates (as defined) about the proposed launch

of several hedge funds, and associated management companies, investment advisors and trading

vehicles. This proposed business ventures, including proprietary company valuations and rights to
membership interests, were disclosed under the express provisions of the Timetrics NDA – which

specifically are protected confidential information (See Timetrics NDA, Para 1,2,3)

155. In or around September 2016 and during numerous phone calls and emails therefore, Larkin

represented that Defendants Northland and Hedge would honor numerous compensations

agreements, salary bonus structures and reinstatement of software license fees, in exchange for

services, and substantial profit sharing in hedging improvements.

156. However, again manifesting this pattern of deceit, this representation were false at the onsite.

Larkin, (acting in his capacity as CEO of Northland and President of Hedge, when he these material

representations, Larkin was concealing these material representations and business transactions


                                                 34
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 35 of 69

First Amended Complaint, Page 35


from other employees, officer, directors, including the Controller, CCO and others, in potential

violation of the law, rules and regulationsunder which his business operates.

157. Larkin, acting in his capacity as CEO of Northland and President of Hedge , falsely made

those material representations to Plaintiffs to induce Plaintiffs to continue to provide IP and

disclose services and software, and knew at the onset his representations were false, and that

Northland and Hedge, by his fraudulent concealment of the activity had no intention of paying

Plaintiffs for their work.

158. Larkin has now demonstrated a pattern of conducting aspects of his business, by concealing

information from others, and deceptive conduct, skirting regulations on the trading floor, resulting

in regulatory and compliance violations. Manifesting this pattern of deceit, Larkin, acting in his

capacity as CEO Of Northland and President of Hedge, made material representations to Plaintiffs

that were false, as Larkin was now fraudulently concealing his representations and business

transactions from other employees, officer, directors, including the Controller, CCO and others.

159. These misrepresentations were made for the purpose of inducing Plaintiffs entering into an

Agreement in Principle, that were subsequent to the Settlement, and providing continued services–

with compensation being promised directly by Larkin personally in binding of Northland and

Hedge, and to continue to disclose more IP, Software, trade secrets, and confidential information

and continue providing services, software, design improvements, trades, contributions to

Defendants, ,

160. Manifestation of Larkin’s assent to the Agreement in Principle, includes but not limited to his

personal initial payments from his personal bank accounts, and numerous emails and

communications between Larkin and Kumaran documenting the extensive services, software,

labor, risk management and hedging techniques and improvements of financial value provided to

Defendants, from which he gladly retained the benefit and the fruits of the labor and services..

161. Given the short deadlines that Defendants represented were for the trading live during the

months of September 2016-March 2017, Plaintiffs accelerated its timeline to provide services,

software, risk management and hedging techniques and improvements of financial value to


                                                35
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 36 of 69

First Amended Complaint, Page 36


Defendants reliant on the compensations schedules, and took time away for its other operations

and opportunities to earn revenue.

162. Further, reliant on the representations, Plaintiffs during the period accelerated, expedited,

provide excessive hours, labor, manpower, services, software and other upgrades, design and

recommendation in hedging strategies to Larkin, Northland and Hedge and disclose IP,

Confidential Information and Trade Secrets, treliant on the promises of renumeration, and subject

to the restrictions of the Timetrics NDA, Reliant on these representations, and renewed business

relations, Kumaran invested hundreds of hours of work for Defendants, provided software, IP and

services, disclosed trade secrets, that amassed improvements to the OBT Book.with cost savings

of over $700,000 to the Defendants, for which to date it still has not received compensation.

Defendants implemented, used and profited from those improvements in New Hampshire, used

trade secrets in interstate commerce in violation of the Defend Trade Secrets Act.

163. The Missing Pieces and trade secret information were disclosed under the express restrictions

of the Timetrics NDA. Continuing a pattern of deceit and fraud, and now concealing his activities

from his own employees Lothrop and Bramante, Larkin once again failed to honor the financial

terms, that he had personally promised on behalf of Northland and Hedge, and then in bad faith,

unilaterally attempted to change the terms of the agreement, to reduce Plaintiffs profits share.

Unless Plaintiff met new, undiscussed terms, Larkin “withheld” the financial capital contributions

from the hedge funds, and make bad faith and usurious demands for Plaintiffs to disclose more

strategies and IP, or he would “resign”

164. All services were performed in the City and State of New York. Larkin personally met with

and conferred with Kumaran in the City and State of New York, further manifesting his assent to

these services at meeting including but not limited to The View in Times Square on August 4th

2016, The Marriott Hotel on West 57th Street on December 14th 2016, and Tavern on the Green on

December 14th 2016. At these times and dates and locations, including at numerous emails and

telecommunications, made to Kumaran’s residence in New York City, further making fraudulent




                                               36
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 37 of 69

First Amended Complaint, Page 37


representations about his payments, Larkin made repeated promises and representations of

personal contributions and payments to Kumaran and Plaintiffs.

165. In furtherance of the Agreement in Principle, payments were made by Larkin personally, from

his individual bank account to Kumaran’s affiliates, and fedexed to locations in New York City,

in order to conceal the business dealings from Northland and Hedge. Further his pattern of material

obfuscations and concealment, including making various payments to third parties, including a

Jonathan Flak, on or around December 14th, 2016, in cash (so as to avoid a paper trail) in New

York City, at the Marriott Hotel on West 57th Street, as part of his manifestation to “conceal” and

deceit and misrepresentations to Northland and Hedge of his true conduct.

166. Further, Plaintiffs reasonably relied on Larkin’s representations in deciding to enter into the

further services under the Agreement in Principle, and proceeding to provide services, software,

risk management and hedging upgrades and techniques, disclose further IP, and dilute its time

management from the other activities to assist Defendant’s business, reliant on the cashflow and

revenue incentive compensations that were promised by Defendants.

167. Plaintiff’s had been engaged by Defendants before for a period of about four (4) years, and

reasonably expected these payments to be made, under the terms of the previous EULA and other

agreements which were to be reinstated.

168. Plaintiffs fulfilled their obligations under the Agreement in Principle and Timetrics NDA.

169. Further with reckless disregard for the truth, Defendants Larkin, Northland and Hedge had no

intention of making payments to Plaintiffs, as they were not willing to comply with the FCM’s

regulatory compliance laws, of mandatory reporting of CTA’s, and the Managed Account with full

and transparent disclosures of incentive payments, and it would not have been possible to do so

without compliance. In fact, manifesting his deceit, Larkin was acting with fraud and concealment

from his own Northland employees, officers and directors, and had no intention of properly

compensating Plaintiffs, but utilizing the services for his self-gain, profit and benefit and self-

dealings in the Northland company.




                                                37
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 38 of 69

First Amended Complaint, Page 38


170. Therefore Larkin, Northland and Hedge knew at the onset that their representations were false,

and that compensations through Northland and Hedge could not have been made, and intended to

deceive Plaintiffs to induce free services, wrongfully acquire by fraudulent inducement to disclose

more trade secrets and their valuable IP, Confidential Information, provide services and proceed

with the Agreement in Principle while all the time increasing profits and revenue to Defendants.

171. Plaintiffs have been harmed by non-payment of the various compensations contemplated in

the Agreement in Principle, while Defendants have retained the benefits from and profited from

the services, discounts, software license and disclosure of IP provided to them thereunder in

amount in excess of $1 million dollars.


                                H – MORE TRADE SECRETS

172. On or around dates including September 27th, September 28th, October 2nd, October 6th, 2016,
October 8th, 2016 and other dates, via email communications and phone calls, Plaintiffs emailed

numerous trade secrets features, advancements, including specific trades and upgraded design

features, to Larkin, reliant on the promises and commitment in the Agreement in Principle, and

also subject to the Timetrics NDA.

173. Specific improvements, re-designed the layout of the then-existing OBT Book, to include

separate viewing frameworks, which were previously concealing exposures and risks in excess of
several hundred thousand dollars and contained formulaeric and graphical modelling

improvements on the computation of risks, which are contained in the proprietary design features

and trade secrets of Plaintiffs IP and Software. These disclosures were made again reliant on the

express representations of no-termination funding of financial capital, renewal of Licensee Fee

payments starting April 2017, salary bonuses that Defendants Northland were to pay, and royalty

sharing payments, and all confidential disclosure were made subject to the Timetrics NDA.

174. Larkin, Northland and Hedge used, implemented, adopted the improvements and design

features, modifying and updating the OBT Book for Defendants use, profit and gain and retaining

the financial benefits, after Plaintiffs were induced to provide the IP and Software under the

promises of forthcoming compensation, substantial royalties, License Fees, and salary bonuses,

                                                38
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 39 of 69

First Amended Complaint, Page 39


none of which were ever paid as well as in expectations of his -no-termination-capital contribution

for the hedge funds.

175. While Plaintiffs have performed all its obligations under the Timetrics NDA, Defendants were

knowingly in breach of the following specific provisions of the Timetrics NDA, including but not

limited to (i) Section 2.b (ii) Section 3a and Section 3.b (iii) as well as other obligations contained

therein to protect and not-use Confidential Information.

176. Larkin then made more fraudulent representations to Kumaran, notably on dates October 4th,

October 9th, and October 15th 2016 from via email and telephone communications from his offices

in New Hampshire to Kumaran’s residences in New York City. Specifically he stated, that

Northland would quantify and include as part of the revenue share basis for compensation to

Plaintiffs, any financial improvements that both removed stress risk to Northland and reduced the

amount of spend at the FCM.

177. Reliant on those representations, Kumaran invested hundreds of hours modifying its programs

and performing services to meet those milestones and demonstrated techniques that could achieve

those modifications which Larkin incorporated that more than achieved the targets and milestones

recovered Lothrop’s losses.

178. Once demonstrated, Larkin then breached the Agreement in Principle and sought to

inequitably, and unfairly remove these payment terms of benefit to Plaintiffs, unilaterally change

the terms again, for only Northland to reap the benefit of the foregoing improvements and once

again reduce Plaintiffs share that he had promised and represented in writing would be paid.


                       I - BREACH OF AGREEMENT IN PRINCIPLE

179. Kumaran passed the Series 3 on or about July 1st, 2016 and became a registered commodities

trading advisor (“CTA”) on April 4th 2017 Larkin is also a Series 3 holder, and a registered CTA.

The commodities trading advisor business is highly competitive, and all CTA’s are compensated

based on performance of their hedging and trading strategies. Therefore, Larkin and Kumaran are

direct competitors in this business as registered CTA’s and subject to strict compliance and

disclosure regulations.

                                                  39
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 40 of 69

First Amended Complaint, Page 40


180. In or around October 6th 2016 and other dates Larkin took action to open under Northland’s

name yet another dedicated FCM Account, for the purpose that Kumaran, as a registered CTA,

would trade the Northland account. Larkin made specific requests from the FCM, that this activity

be fraudulently concealed from Lothrop and Bramante and other employees and CFO at Northland.

181. In emails on October 16th and October 19th, October 25th and October 26th, 2016 the parties

discussed the arrangements, and the FCM provided various forms to Northland and Kumaran to

comply with the signature required on the CTA Managed Account forms, for Kumaran to have

authorization to trade the Northland account.

182. One such material regulation requirement was to provide the compensation schedule to the

FCM of the CTA’s performance, On or around October 26th 2016 and other dates, Northland then
refused to comply with the FCM’s regulatory requirements to sign the forms related to disclosing

compensation of Kumaran as a CTA, which were material obstructions to performance. Instead,

Larkin’s new scheme was for Kumaran as a CTA, teach him all the trades, so that he could pretend

he was sole CTA on the account, and never honor any compensations in an unfair competition

scenario so that Larkin and Northland and not Kumaran would gain the performance credit of the

activity.

183. Larkin yet again, in bad faith, then demanded to unilaterally change the terms, upon which

Kumaran had relied prior to disclosing IP and providing services, that instead, wished Kumaran
not disclose its compensation as a CTA in violation of regulatory statues. Because the conduct was

illegal, Kumaran refused to trade an account without the required forms disclosed to the FCM. era

184. This activity would not only violate regulatory compliance laws, to not disclose its activities

on a Managed Account as a CTA but further supported that Larkin and Defendants had no intention

of compensating Plaintiffs for their services and strategies.

185. Further under Larkin’s new scheme, Larkin and Defendants would have no “paper trail” with

the FCM, in order not to compensate Kumaran for its services, and report CTA performance as

required by the law. As such Kumaran refused to participate in any activities that would violate

compliance laws and would not adhere to Larkin’s bold instructions to violate the regulatory laws,


                                                 40
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 41 of 69

First Amended Complaint, Page 41


which Northland had been fined for in the past. Further Larkin in ongoing deceit, was materially

deceiving his own employees, Lothrop and Bramante for which conduct may also have been

fraudulent. Kumaran insisted the forms be signed as required by the FCM.

186. Larkin then demanded that unless Kumaran participate in these illegal and non-compliant

terms, it would withhold financial capital, and intentionally cause Plaintiffs and their businesses

financial losses, and would not honor the previous compensations of the non-termination funding

in the Agreement in Principle, reneg. on the salary bonuses and royalties and compensations, while

already reaping benefits to Northland and breached the Agreement in Principle, enacting its threat

to withhold relied upon financial capital, and now refusing to honor any of the previously agreed

upon payments for services, IP and software that Kumaran had contributed.

187. Larkin, after refusing to comply with regulatory requirements, in or around November 2nd
2016, then breached the Agreement in Principle, enacted its plan to withhold its payments that

were past due, in bad faith, and commercially unreasonable, continued to unilaterally change the

terms of compensation, after services were provided, and proceeded to use and incorporate and

retain the benefits of the services and disclosed IP without compensation to Plaintiffs.

188. Such actions were also a breach of Larkin’s fiduciary duties to act as a Member and Principle

since he was to own 10% of the fund, and was instead self-dealing in the operations of the fund

for his own personal gain, and acting in bad faith, to sabotage Kumaran’s operations.
189. Larkin breached the “Agreement in Principle” and acted in bad faith, by unilaterally

attempting to change the terms of the agreement after reaping the benefits of the services by taking

commercially unreasonable actions such as (a) demanding the salary bonuses are removed which

were material to Kumaran’s consideration; (b) purporting the reduce the scope and volume of the

gallons so that after incorporating the improvements, Defendants could reduce Plaintiffs share,

and removing months such as Nov, Dec upon which improvements had already been made (c.) not

complying with the CFTC rules and regulations to sign necessary forms with the FCM, and then

requesting Kumaran then do the same, in violation of the Commodities Exchange Act; (d)

materially changing the payments terms of the capital contributions, including the no-termination


                                                41
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 42 of 69

First Amended Complaint, Page 42


clauses, without which Kumaran would not have agreed to perform services or disclose IP (e.)

materially changing the formula for the baseline, which the parties had already agreed to

substantial work had been done, and implementing commercially unreasonable terms to continue

to change the scope of work; all the while reaping the benefits of skills, labor, services, IP and

software for Defendants without compensation.

190. Defendants knew that Plaintiffs would be financially harmed, as they were reliant on the

representations of numerous financial contributions to launch new businesses, and had already

agreed via various Agreements in Principle to launch the funds.

191. Defendants Larkin Northland and Hedge knew that Plaintiffs would suffer substantial

financial losses, Since Defendants Larkin, Northland and Hedge represented they would be making

significant financial capital contributions to launch various new businesses, with fully calculable

monetary rewards and profits incentives, and by withdrawing those incentives, Plaintiffs would

not be able to reap the fruits and benefits of their excessive hours of labor or launch the businesses

under the timelines contemplated, causing operational losses and delays

192. Defendants actions were with wanton and disregard for Plaintiff’s right, and with willful

intention to harm Plaintiffs’ businesses, as well as its affiliates.. Larkin continued to hold Plaintiffs’

confidential information as “leverage”, obstruct and delay Kumaran registration of businesses, by

withholding signature on various agreements and regulatory registrations, unless it if meets

Larkin’s commercially unreasonable demands,. Which included waiving all claims to Plaintiffs

intellectual property for Defendants’ ongoing use, profit and unjust enrichment.

193. Emails during this period of time, evidence Plaintiffs providing proprietary risk mitigations

techniques in excess of several hundred thousand dollars of benefit to Northland and Hedge, reliant

on Larkin’s promises and representations of payments and licenses.

194. Larkin failed to honor the financial commitments he had personally promised on behalf of

Northland and Hedge, and then in bad faith, unilaterally attempted to change the terms of the

agreement, in bad faith, to reduce Plaintiffs profits share. Unless Plaintiff met new commercially

unreasonable terms Larkin “withheld” the financial capital contributions from the hedge funds,


                                                   42
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 43 of 69

First Amended Complaint, Page 43


and in breach of fiduciary duties to his partners. After violating numerous and make bad faith and

usurious demands for Plaintiffs to disclose more strategies and IP, or he would “resign” from the

hedge fund and cause substantial commercial harm to the hedge fund.

195. Larkin, in his personal capacity was making payments, on the Agreement in Principle,

representing himself as the CEO of Northland and Hedge that payments and compensation were

forthcoming, Plaintiffs acted in reliance on his commitments to not terminate, and acting in

reliance, disclosed IP, provided services, software and trade secrets, that Defendants knew were

valuable and confidential, and once improvements were made, Larkin lied again, and tried to

remove the compensations due that he had promised. Kumaran was misled to believe it had a no-

termination partner in a hedge fund, however once, Larkin started to acquire value that only he

and Defendants could profit from, and did profit one, he lied and changed the terms again to cut

Plaintiffs out of the agreed upon salary bonuses, profits sharing and license, using his financial

capital contributions as “leverage” in bad faith and breach of his fiduciary duties.

196. After he resigned, Larkin stated with specificity threatened he would “publish confidential

and trade secrets” of Plaintiffs, and obstruct or harm Plaintiff’s businesses and hedge fund as

“leverage”, or further encumber the hedge fund to try and damage its good will and reputation,

unless Plaintiff waives its rights to its IP and trade secrets. Such actions were material breaches of

his fiduciary obligations and Larkin has caused substantial, delays, damages by breaching his

commitments to invest substantial capital and attempts to obstruct Plaintiffs businesses,.

197. Larkin has misappropriated hundreds of hours of unpaid labor, skills, services, and

expenditures during the period, for continue excessive hours of work, without compensation and

signed agreements and as a competitor and CTA used these skills to further his own CTA business

Further Defendants, in bad faith, have threatened to breach numerous confidentiality provisions,

and publish and disseminate trade secrets and confidential information, and Larkin has impeded

registrations of the hedge funds, and failed to comply with management, to attempt to destroy the

reputation and good will of Plaintiff’s businesses as retribution and retaliation, should Plaintiffs

pursue action against them.


                                                 43
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 44 of 69

First Amended Complaint, Page 44


198. Plaintiffs have been harmed by non-payment of the various compensations contemplated in

the Agreement in Principle, while Defendants have retained the benefits from and profited from

the services, discounts, software license and disclosure of IP provided to them thereunder in

amount in excess of $1 million dollars.


J. 2017 – PRESENT DATE

199.     Larkin’s threats included using confidential information as leverage and making trade

secrets public. On or around January 15th, 2017 and on several other occasions, via telephone call

to Plaintiff Kumaran in New York on February 14th, 2017 and June 21st, 2017 Larkin stated with

specificity and peculiarity that Larkin would “publish confidential and trade secrets” of Plaintiffs,

and obstruct Plaintiff’s businesses and hedge fund as “leverage”, unless Plaintiff waives its rights

to its IP and trade secrets. Such actions were material breaches of his fiduciary obligations and

Larkin has caused substantial, delays, damages by breaching his commitments to invest substantial

capital and attempts to obstruct Plaintiffs businesses, and rights to .

200. On several dates and times, over the exhaustive span of over two (2) years, including but

not limited to in emails both to Defendant Larkin and its former counsel Bracewell, on July 31st,
2017, February 23rd, 2018, August 7th, 2018, October 2nd 2018 and June 5th, 2019, Kumaran sought

Larkin’s resolution of his resignation, signature on an NDA, as a fiduciary and principal, for
participation in the hedge-funds, under terms that he had agreed. Kumaran sent non-disclosure

agreements that are required under the Operating Agreements of various hedge funds, which are

Timetrics affiliates, compromised, and in good faith met all Larkin’s terms for operating

participation in hedge funds.

201.    On each and every separate occasion Larkin, failed to act in good faith to either provide a

mark-up, or propose a suitable alternative Non-Disclosure Agreement for the hedge funds and

Timetrics affiliates, and have blanket refused to sign and agree to any terms, in his willful and

malicious attempt to both obstruct Kumaran’s businesses and hedge fund business and/or use,

make use of, publicize and distribute Plaintiff’s confidential information as “leverage” if Kumaran



                                                  44
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 45 of 69

First Amended Complaint, Page 45


does not wrongfully assign IP and software rights to Larkin, which he has not paid for, in quantum

meruit.

202.      To this date, Defendants have continued to retain the benefits of the IP, services, software,

trade secrets and other benefits fraudulently procured by Plaintiffs, and have failed to honor their

end of the compensation schedules, and continued to this date, their breaches of the Settlements

Agreement and Non-Disclosure Agreements. Defendants have therefore been unjustly enriched at

the Plaintiffs’ expense.

                                               CLAIMS

                             FIRST CAUSE OF ACTION
                  BREACH OF CONTRACT – SETTLEMENT AGREEMENT
                        Against Defendants Larkin, Northland and Hedge

203. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein. Plaintiffs restate and copy in full Section D ¶112-127,

Section F ¶143-149 supra herein,

204. The Settlement dated May 9th, 2016 was a valid and binding contract upon all parties,

including Defendants, supported by adequate consideration. Plaintiffs fully performed all duties

and obligations under the contract.

205. Defendants Larkin, Northland and Hedge represented and warranted that they did not have in

their possession and would not retain, or use, or modify, reverse engineer, or otherwise

misappropriate Plaintiffs’ IP, as previously and further described by the full language of the

contract contained within Exhibit 1 of the Settlement.

206. Defendants materially breached the contract by violating the several provisions concerning

the Plaintiffs’ IP and Software and specifically by retaining, using, modifying, adapting, reverse

engineering and in other ways misappropriating Plaintiffs’ IP and Software, in derogation of their

express representations and warranties contained within the contract.

207. Defendants, through their retention, modification, and use of misappropriated Plaintiffs’ IP

and Software, profited while engaging in trading commodities and futures, as a direct and


                                                   45
        Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 46 of 69

First Amended Complaint, Page 46


proximate result of the improper use of the Plaintiffs’ IP and Software, and Plaintiffs improper

development and modification thereto, those profits were in an amount not yet fully ascertained,

but believed to be not less than $1 million to be determined at trial.

208. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,

but believed to be in excess of $1million dollars.

209. In the alternative, by reason of the foregoing, Plaintiff is entitled to disgorgement of any and

all profits, improperly derived from Defendants’ breach of contract, in an amount to be determined

at trial, but believed to be in excess of $1 million.

210. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has

    caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct was

    intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

    which justifies an award of punitive damages.

                            SECOND CAUSE OF ACTION
                FRAUDULENT INDUCEMENT – SETTLEMENT AGREEMENT
            Against All Defendants, Lothrop, Larkin, Bramante, Northland and Hedge

    211. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

    supra, as if fully set forth at length herein. Plaintiffs restate and copy in full Section D ¶112-127

    supra and Affidavit 1-3 herein.

    212. The elements of a claim for fraudulent inducement are :1) a false representation of material

    fact, 2) known by the utterer to be untrue, 3) made with the intention of inducing reliance and

    forbearance from further inquiry, 4) that is justifiably relied upon and 5) results in damages 8
    213. During the period August 2014 until March 2015, all Defendants, Larkin, Lothrop and

    Bramante, materially omitted, and intentionally concealed by omission that they had created a

    clone OBT Book, utilized Plaintiff’s IP to duplicate risk monitoring systems, and acted with

    deliberate intent to conceal their onsite replications, to fraudulently mislead and omit from

    disclosure they had created Derivative Works.
8
 MBIA Ins. Corp v. Credit Suisse Securities (USA) LLC No. 603751/09 927 N.Y.S. 2d 517, 530, 32 Misc, 3d (Sup
Ct, June 01,2011)

                                                     46
        Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 47 of 69

First Amended Complaint, Page 47


    214.     Lothrop, Bramante and Larkin concealed their activities as part of a scheme to cut

    Plaintiffs out of their License Fees, Royalties and to transfer value, benefit to Defendant’s

    businesses. Defendants knew their actions were in breach of the EULA, Timetrics NDA and other

    agreements, and made overt attempts to conceal the replication.

    215. Defendants, through their retention, modification, and use of misappropriated Plaintiff’s IP

    and Software, profited while engaging in trading commodities and futures and as a direct and

    proximate results of the improper use of Plaintiff’s IP and Software, and Defendant’s improper

    development and modification thereto; those profits were in an amount not yet fully ascertained,

    but believed to be not less than $1 million to be determined at trial.

216. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,

but believed to be in excess of $1 million. In the alternative, by reasons of the foregoing, Plaintiff

is entitled to disgorgement of any and all profits improperly derived from all Defendants’

fraudulent inducement, in an amount to be determined at trial, but believed to be in excess of $1

million.

217. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has

caused Plaintiffs damages and irreparable harm Defendants, jointly and severally, conduct was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.

                                   THIRD CAUSE OF ACTION
                                    FRAUD (COMMON LAW)
            Against Defendants Larkin, Lothrop and Bramante, Northland and Hedge

218. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, including attached Affidavits, as if fully set forth at length herein. Plaintiffs restate and copy

in full Section C ¶86-111, Section G ¶150-171 and Section H ¶172-178 and Affidavit 1-3 herein.

219. Elements of a cause of action for fraud require a material representation of a fact, knowledge
                                                                                                        9
of its falsity, an intent to induce reliance, justifiable reliance by the Plaintiff and damages.


9
    Eurycleia Partners, LP v. Seward & Kissel, LLP 910 N.E. 2d 976, 979, 883, N.Y.S.2d 147,150,12 [NY 2009]**

                                                       47
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 48 of 69

First Amended Complaint, Page 48


220. On multiple dates between June 1st 2014 and March 31st 2015, all Defendants using phone,

email and other instant messenger communications from their offices at 500 N. Commercial Drive,

in New Hampshire to Plaintiffs in their offices at 154 Reade Street, New York, NY, 10013,

including specifically on dates September 13th 2014, November 26th 2015, Dec 1st 2014, and

numerous other dates Lothrop, Bramante and Larkin materially concealed from and fraudulently

omitted that they had, by virtue of misuse of a FAT Test, Defendants had created duplicate and

derivative works, in express breach of the EULA, Timetrics NDA and other engagement letters

221. Simultaneously, on multiple dates between June1st 2014 and March 31st 2015, all Defendants

as stated Supra in using phone, email and other instant messenger communications from their

offices at 500 N. Commercial Drive, in New Hampshire to Plaintiffs in their offices at 154 Reade

Street, New York, NY, 10013, including specifically on dates September 13th 2014, November
26th 2015, Dec 1st 2014, and numerous other dates committed fraud and made material

misrepresentation to Plaintiffs by (a) fraudulently concealing the unauthorized transactions from

a prior FCM (b) fraudulently certifying that position and risk reports from Plaintiffs software

reconciled with Defendants broker statements, when they had full knowledge (c.)fraudulently

misrepresenting that the unauthorized transactions had been completely removed from the Pilot

book, (d) fraudulently concealing that they had set up a Derivative Works, and OBT Book to

replicate Plaintiffs’ IP which Lothrop was expanding as a shadow system based on Plaintiff’s IP,
and making representations that only Plaintiffs book was active (e.) fraudulently misrepresenting

and making false statements that the cashflow and margin being reported match Plaintiffs’ reports,

as material actions to obscure the misappropriations and misuse of Plaintiffs IP and technologies.

222. These fraudulent statements, were part of an ongoing scheme to deplete the success and

performance of Plaintiff’s IP and technologies, misuse the PILOT to provide cashflow for

Northland’s other business activities, and deceitfully lower Plaintiff’s rights to renumeration,

profits sharing, incentive compensations, license fees, and royalties so as to sabotage the PILOT

and harm Plaintiff’s rights to compensation, and set up Derivative Works, called the OBT Book

to transfer technologies onsite.


                                               48
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 49 of 69

First Amended Complaint, Page 49


223. Defendants continued their fraud by materially omitting that they had developed a shadow

Derivative Work as a spreadsheet model, which replicated the approach, graphs, functionality,

calculations, and hedging strategies and methodologies of Plaintiffs IP, from which Lothrop was

creating derivative works, for Defendants internal use, and to run in parallel. Defendants

fraudulently omitted from all communications, concealed they had, were and intended to

implement for production this derivative work that Lothrop, Bramante and Larkin had copied, for

the ongoing profit and gain of Defendants, without compensating Plaintiff for its share if the IP

royalties, and revenue share royalties that it had agreed to pay in the EULA and other Engagement

Letters. (See Affidavit 1)

224. Larkin also continued his fraud and misrepresentations that Northland and Hedge would make

renumerations for services and software and licenses under an Agreement in Principle.

225. Plaintiffs relied upon the misrepresentations, omissions and fraud and continued to disclose

IP, Software and trade secrets, and execute a Settlement Agreement, and continued to provide

services, software and IP after the settlement, reliant on other fraudulent statements that

Defendants would reinstate compensations, license fees and royalties..

226. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at trial,

but believed to be in excess of $1 million. In the alternative, by reason of the foregoing, Plaintiff

is entitled to disgorgement of any and all profits, improperly derived from Defendants’ fraud, in

an amount to be determined at trial, but believed to be in excess of $1 million.

227. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has

caused Plaintiffs damages and irreparable harm. Defendants conduct, jointly and severally, was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.

                     FOURTH CAUSE OF ACTION
   MISAPPROPRIATION OF TRADE SECRETS – DEFEND TRADE SECRETS ACT
       Against Defendants Larkin, Lothrop, Northland Energy, and Hedge Solutions




                                                 49
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 50 of 69

First Amended Complaint, Page 50


228. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein.

229. The Plaintiffs IP and Software including as well as its risk management strategies, hedging

techniques, know-how, methods, models processes and techniques constitute trade secrets and

confidential and proprietary information. Plaintiffs have maintained this information in confidence

and it is not generally known to other persons or the public who could obtain economic value from

the disclosure or use of such information. This information is a valuable asset of Plaintiffs and has

independent economic value.

230. Recipients have agreed under the EULA and other agreements, the Plaintiffs IP and Software

constituted trade secrets, with definitions and terms therein, and were the crux of Plaintiff’s

commercial value. (See Eula ¶ 27, Timetrics NDA ¶2.b) The trade secrets were shared with

Defendants under the express obligations of confidences.

231. Plaintiffs’ IP and Software are (1) non-public information; (2) protected by reasonable

measures; and (3) and which derive independent economic value from not being known to other

persons In particular, Plaintiffs’ IP and Software derive independent economic value, actual or

potential from not being generally known to other persons, who can obtain economic value from

its disclosure or use. of the information.

232. Plaintiffs took and takes reasonable measures to maintain the secrecy of Plaintiffs’ IP. Such

measures include, but were not limited to: (1) limited access to confidential information; (2)

requiring third-parties to execute strict non-disclosure agreements before being allowed to access

the information; and (3) requiring passwords for access to such information.

233. During the period September 2016-March 2017 Kumaran disclosed trade secret and

confidential information to Larkin, which he then used and implemented in Defendant Northland

Hedge’s business in New Hampshire for profit. Kumaran disclosed the information under the

express restrictions of the Timetrics NDA which prohibited such use. Kumaran was induced to

disclose the information, reliant on promises by Larkin that compensation would be made by

Defendants.


                                                 50
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 51 of 69

First Amended Complaint, Page 51


234. Defendants misappropriated Plaintiffs IP by deliberate actions which include but not limited

to : (1) the acquisition of Plaintiff’s IP using improper means, including by fraudulent inducement

of Settlement Agreement and Agreement in Principle, and promises to pay compensation and

royalties (2) breach of their confidential relationship with Plaintiffs to maintain the secrecy and

restrictive covenants of Plaintiff’s IP, including but not limited to the restrictions and confidential

obligations in the various agreements including but not limited to Timetrics NDA, EULA and

Settlement Agreement; (3) ongoing use and profit of Plaintiffs IP for their own economic benefit

without the express or implied consent of Plaintiffs; all in violation of the Defend Trade Secrets

Act “DTSA”.

235. Based on the willful and intentional misappropriation of Plaintiffs’ IP: (1) Defendants should

be enjoined from any further use and/or disclosure of Plaintiffs’ IP until such time that no further

commercial advantage that would be derived from the misappropriation of Plaintiff’s IP; (2)

Plaintiffs should be awarded damages including actual losses and a disgorgement of unjust

enrichment caused by the misappropriation ;(3) an equitable accounting for all profits or benefits
arising out of such breach (4) exemplary damages including but not limited to all special,

indirect, punitive, consequential or other damages; and (5) all other remedies in equity and law,

including recovery of its costs and legal fees.

236. Since Defendants have both acquired by improper means and utilized implemented trade

secrets for profit in their OBT Book, across state lines. disclosures were made and accessed from

Plaintiff in New York, and used in New Hampshire, Defendants are liable for misappropriation

across interstate lines of commerce under the Defend Trade Secrets Act.

237. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

have caused Plaintiffs damages and irreparable harm. Defendants conduct, jointly and severally,

was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

which justifies an award of punitive damages.

                         FIFTH CAUSE OF ACTION
            MISAPPROPRIATION OF TRADE SECRETS – NEW YORK LAW


                                                  51
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 52 of 69

First Amended Complaint, Page 52


       Against Defendants Larkin, Lothrop, Northland Energy, and Hedge Solutions

238. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein.

239. To succeed on a claim for misappropriation of a trade secret under New York law, a plaintiff

“must prove: (1) it possessed a trade secret, and (2) defendant is using that trade secret in breach

of an agreement, confidence, or duty, or as a result of discovery by improper means.”

240. Plaintiffs IP and Software including as well as its risk management strategies, hedging

techniques, know-how, methods, models processes and techniques constitute trade secrets and

confidential and proprietary information. Plaintiffs have maintained this information in confidence

and it is not generally known to other persons or the public who could obtain economic value from

the disclosure or use of such information. This information is a valuable asset of Plaintiffs and has

independent economic value.

241. Plaintiffs’ IP and Software are (1) non-public information; (2) protected by reasonable

measures; and (3) and which derive independent economic value from not being known to other

persons. In particular, therefore Plaintiffs’ IP and Software derive independent economic value,

actual or potential from not being generally known to other persons, who can obtain economic

value from its disclosure or use. of the information.

242. Plaintiffs took and takes reasonable measures to maintain the secrecy of Plaintiffs’ IP. Such

measures include, but were not limited to: (1) limited access to confidential information; (2)

requiring third-parties to execute strict non-disclosure agreements before being allowed to access

the information; and (3) requiring passwords for access to such information.

243. Recipients have agreed under the Timetrics NDA, EULA and other agreements, the Plaintiffs

IP and Software constituted trade secrets, with definitions and terms therein, and and were the crux

of Plaintiff’s commercial value. (See Eula ¶ 27, Timetrics NDA ¶2.b). The trade secrets were shared

under the express obligations of confidences.

244. During the period June 2014-March 2015 Kumaran disclosed and licensed trade secret and

confidential information to all Defendants, under the express restrictive covenants of the Timetrics


                                                 52
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 53 of 69

First Amended Complaint, Page 53


NDA, EULA and other restrictive engagements. Defendants, willfully and intentionally, in breach

of those obligations, used, duplicated, and implemented for commercial use Derivative Works and

risk management tools from which Defendants have used to generate substantial profit and

revenue, in what has become operational in an OBT Book, Kumaran disclosed the information

under the express restrictions of the Timetrics NDA which prohibited such use.

245. All Defendants, acting together and individually for personal benefit, took over actions, made

false statements and intentionally omitted to fraudulently concealed their internal duplications,

Derivative Works, and misappropriations.

246. Defendants misappropriated Plaintiffs IP and Software by deliberate actions which include

but not limited to: (1) the acquisition of Plaintiff’s IP using improper means, including fraudulent

concealments of replications during the FAT Test, (2) breach of their confidential relationship with

Plaintiffs to maintain the secrecy and restrictive covenants of Plaintiff’s IP, including but not

limited to the restrictions and confidential obligations in the Timetrics NDA, EULA and other

Agreements; (3) ongoing use and profit of Plaintiffs IP for their own economic benefit without the

express or implied consent of Plaintiffs; all in violation of New York law;

247. Based on the willful and intentional misappropriation of Plaintiffs’ IP: (1) Defendants should

be enjoined from any further use and/or disclosure of Plaintiffs’ IP until such time that no further

commercial advantage that would be derived from the misappropriation of Plaintiff’s IP; (2)

Plaintiffs should be awarded damages including actual losses and a disgorgement of unjust

enrichment caused by the misappropriation ; (3) an equitable accounting for all profits or

benefits arising out of such breach (4) exemplary damages including but not limited to all

special, indirect, punitive, consequential or other damages; and (5) all other remedies in equity

and law, including recovery of its costs and legal fees.

248. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

have caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct

was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

which justifies an award of punitive damages.


                                                 53
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 54 of 69

First Amended Complaint, Page 54


                             SIXTHCAUSE OF ACTION
             MISAPPROPRIATION OF CONFIDENTIAL INFORMATION
       Against Defendants Larkin, Lothrop, Northland Energy, and Hedge Solutions
249. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein.

250. Defendants only had access to the Plaintiffs’ IP and Software because of the relationship

between the parties, which was governed expressly by confidentiality restrictions, including but

not limited to those in the Settlement.

251. Defendants did not have access to the same information without this relationship because

otherwise they would not have the “guidance” and reference from which to migrate their hedging

strategies, and build trading strategies, methods, techniques, processes, models with similar

functionality and design to the Plaintiffs IP, and improve profits.

252. Defendants Larkin, and Lothrop run competing businesses as Commodities Trading Advisors.

(“CTA”s). Larkin and Lothrop generate revenue and charge clients fees, for hedging and risk

management services, that they acquiring Plaintiffs confidential information. The use of the

hedging strategies and programs by one CTA without giving credit to the other CTA, is direct

competitive commercial harm.

253. The primary focus of a misappropriation of confidential information claim is "the relationship

of the parties at the time of disclosure and the intended use of the information". ID. Thus, it is the

parties' relationship and expectations that are key, whereas for a trade secret claim the focus is on

the nature of the information that a party seeks to protect. Defendants did not have access to the

same information without this relationship with Plaintiffs, because otherwise they could have

created their product without the necessity of engaging with or requiring disclosure from Plaintiffs.

254. Plaintiff also asserts misappropriation of other Confidential Information, for Defendants

unjust enrichment and gain, 3ven if information at issue is (in part) publicly available, and so does

not "rise to the level of a trade secret" it may still be protectable as confidential and proprietary

information. The contracts also clearly specified that the terms and payment of licensee fees under




                                                 54
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 55 of 69

First Amended Complaint, Page 55


which the contracts were materially negotiated were under a confidential license, including the

output of the software.

255. Further Defendants are in the competitive risk management business, and offer their use

provides a competitive benefit, at the expense of Plaintiffs. Further they breached their independent

duties of confidentiality to protect and not use the information. Finally Defendants have

misappropriated Plaintiff’s IP for their own personal benefit. Plaintiff also alleges that Defendants
                                                                                                                   10
have been unjustly enriched based upon the misappropriation of the Confidential Information.

256. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct

was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

which justifies an award of punitive damages.

                            SEVENTH CAUSE OF ACTION
                                UNJUST ENRICHMENT
        Against Defendants Larkin, Lothrop, Northland Energy, and Hedge Solutions

257. Plaintiffs repeats and realleges each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein.

258. Under New York law, a plaintiff has stated a claim for unjust enrichment when it alleges "(1)

that the defendant benefited; (2) at the plaintiff's expense; and (3) that equity and good conscience
                         11
require restitution."         The essential fact necessary to prove such a claim is that "one party has

received money or a benefit at the expense of another." Defendants have profited over $1 million

a year, and retained other economic value and benefit, including but not limited to non-payment

of Plaintiffs for services, license fees, royalties and profit sharing commissions, as well as incurred




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10
   SRM BEAUTY CORPORATION, Plaintiff, v. SOOK YIN LOH and Trendy Beauty Spa, Inc.,
Defendants. No. 20273 2010.Feb. 14, 2011.
11
   Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000)accord Paramount Film Distrib. Corp. v. State of N.Y.,
30 N.Y.2d 415, 421, 334 N.Y.S.2d 388, 2 N.E.2d 695 (1972) ("The essential inquiry in any action for unjust
enrichment or restitution is whether it is against equity and good conscience to permit the defendant to retain what is
sought to be recovered."), cert. denied, 414 U.S. 829, 94 S.Ct. 57, 38 L.Ed.2d 64 (1973).

                                                         55
         Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 56 of 69

   First Amended Complaint, Page 56


   other cost savings, other renumeration and benefits. and without fair and just compensation to the

   Plaintiff for its misappropriation and violations of the Settlement.

   259. Further, both prior to and subsequent to the Settlement, Defendants have incorporated system

   design improvements, software functionality features, methods, processes and techniques, and in-

   house models, under express restrictions of doing so, reliant on the Defendant’s promises of

   renumeration under an Implied Agreement. Plaintiff has not received compensation for such

   services, software, IP royalties, licensee fees or royalties, for the performances made after

   September 2016, yet Defendants have benefitted in amounts in excess of $1 million dollars.

   260. The equitable doctrine of unjust enrichment rests, generally, on the principle that a party
                                                                                      12
   should not be allowed to enrich himself at the expense of another.                      Under New York law, a

   plaintiff seeking an equitable recovery based on unjust enrichment must first show that a benefit

   was conferred upon the defendant, and then show that as between the two parties enrichment of

   the defendant was unjust. 13

261. Plaintiff may plead this cause, in the alternative since unjust enrichment applies even where the

   parties have an express contract if: (1) the plaintiff cannot recover under the contract because the

   plaintiff is guilty of breach of contract, and (2) the defendant would nevertheless be unjustly

   enriched by keeping the plaintiff's services or money without some payment. 14

262. Defendants, jointly and severally, have wrongfully profited from its misappropriation and has
   caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct was

   intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

   justifies an award of punitive damages.

                                      EIGHTH CAUSE OF ACTION
                                        PROMISSORY ESTOPPEL
                                    Against Larkin, Northland and Hedge




   12
      Miller v. Schloss, 218 N.Y. 400, 113 N.E. 337 (1916).
   13
      See Indyk v. Habib Bank Ltd., 694 F.2d 54, 57 (2d Cir.1982). Reprosystem, B.V. v. SCM Corp., (2d Cir. 1984)
   14
      Vines v. Orchard Hills, Inc., 181 Conn. 501, 435 A.2d 1022, 1028 (1980) Fabri v. United Technologies Int'l, Inc.,
   387 F.3d 109, 128 (2d Cir. 2004)

                                                           56
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 57 of 69

First Amended Complaint, Page 57


263. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein. Plaintiffs restate and copy in full Section F G ¶150-171 and

Section H ¶172-178 herein.

264. To establish a promissory estoppel it must be shown that the Defendant made a clear and

unambiguous promise upon which the plaintiff reasonably relied to his or her detriment”. 15

265. After the Settlement Agreement, during September 2016- March 2017 Plaintiffs provided a

variety of services, software licenses,         and work product, and disclosed trade secrets and

confidential information with a reasonable expectation of remuneration that never materialized.

Defendants on the other hand, retained the benefit of those services, including recommendations

that increased profits and improved hedging and risk management in amounts in excess of $1

million dollars.

266. Defendants made numerous promises of Payments, in or after September 2016 upon which

Plaintiffs relied, prior to engaging in further business dealings with them. Injustice can be avoided

only by enforcing Northland’s promise of payment.

267. Plaintiffs relied on repeated promises made by Larkin of payments by Northland and Hedge,

including but not limited to after the Settlement, foregoing other work so that they could devote a

substantial number of man hours, time and resources towards work for Defendants, including

disclosing valuable system designs, model improvements, and hedging strategies Defendants

promises of compensation, were relied upon, in order for them to have performed such services,

software, IP, and other contributions of value to Defendant’s business.

268. Defendants benefitted materially from Plaintiff’s services, and that, as a result of multiple

emails, phone calls and verbal assurances between Plaintiffs invested significant resources in

Northland, relying on the promise and prospect of compensation. These allegations give a

factfinder a basis to find Northland liable under one or more of the quasi-contract theories alleged,

including but not limited to promised compensation and return of license fees.

15
  (Roufaiel v. Ithaca Coll., 241 A.D.2d 865, 869, 660 N.Y.S.2d 595 [1997] [citations omitted]; see Bunkoff Gen.
Contrs. v. Dunham Elec., 300 A.D.2d 976, 978, 753 N.Y.S.2d 156 [2002] ). )



                                                      57
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 58 of 69

First Amended Complaint, Page 58


269. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harmDefendants, jointly and severally, conduct was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.

                            NINTHCAUSE OF ACTION
            BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                   Against Defendants Larkin, Northland and Hedge

270. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein.

271. New York law implies a covenant of good faith and fair dealing in all contracts. 16 This

provision “precludes each party from engaging in conduct that will deprive the other party of the

benefits of their agreement.” 17The duty is violated when one party acts to deprive the other of the

right to receive the benefits under the agreement. 18

272. Defendants Larkin, Northland and Hedge have failed to act in good faith in its execution and

misrepresentations regarding the Agreement in Principle, and failure to enact the bonuses, license

fees, and profit sharing that was agreed to [..] insert.

273. . Defendants were fully aware of the conduct which they were undertaking to replicate and

create shadow systems and trading programs, creating Derivative Works from Plaintiff’s IP, and

intended to materially conceal and obfuscate that activity from Plaintiff, to deny them the fruits of

their labor, and their correct royalties, profits sharing and compensation. Larkin has also failed to

act in good faith, to execute the non-disclosure forms, and operating agreements to intentional

delay and obstruct Kumaran’s businesses.

274. Implicit in every contract is a covenant of good faith and fair dealing which encompasses any

promise that a reasonable promisee would understand to be included 19 Even if a party is not in

breach of its express contractual obligations, it “may be in breach of the implied duty of good faith


16
   Russo v. Banc of America Securities, LLC, 2007 WL 1946541 *6 (S.D.N.Y.2007).
17
   Leberman v. John Blair & Co., 880 F.2d 1555, 1560 (2d Cir.1989).
18
   E*TRADE Financial Corp. v. Deutsche Bank AG, 631 F.Supp.2d 313, 388 (S.D.N.Y.2009);)
19
   NewYorkUniv. v. Continental Ins. Co.,87 N.Y.2d 308,318,639N.Y.S.2d 283, 662 N.E.2d 763;.

                                                     58
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 59 of 69

First Amended Complaint, Page 59


and fair dealing when it exercises a contractual right as part of a scheme to realize gains that the
                                                                                                            20
contract implicitly denies or to deprive the other party of the fruit or benefit)of its bargain”

275. Defendants Larkin, Northland and Hedge acted with bad faith and with deliberate intent to

circumvent his obligations under the agreements to deprive and or significantly reduce Plaintiffs’

of their share of the incentive compensations and bonuses and other deprivation of commercial

benefits that were relied upon as consideration of the bargain. A new arrangement to deprives it of

the fruit, or benefit, of its labor is considered bad faith. 21

276. Further Defendants violated an obligation that is not inconsistent with the other terms of the

previous Engagement Contracts between the Defendants and the Plaintiffs. 22
277. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harm Defendants, jointly and severally, conduct was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.

                      TENTH CAUSE OF ACTION
     BREACH OF AGREEMENT IN PRINCIPLE - IMPLIED-IN-FACT CONTRACT


278. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein. Plaintiffs restate and copy in full Section F ¶141-149, Section

G ¶150-171 and Section I ¶179-198 supra herein.

279. Subject to the disclosures under the Timetrics NDA, and subsequent to the Settlement

Agreement that the parties would consummate a purpose and business relation of mutual benefit,

the parties initiated an Agreement in Principle in or around September 2016. But for the express

restrictions and disclosures under the Timetrics NDA, Plaintiffs would not have entered into the

Agreement or performed services or disclosed IP and Software thereunder. This contract was

20
   Marion Scott Real Estate, Inc. v. Rochdale Vil., Inc., 23 Misc.3d 1129[A], 2009 WL 1425252,
21
   See Moran v. Erk, 11 N.Y.3d at 456, 872 N.Y.S.2d 696, 901 N.E.2d 187)
22
    sSee Dalton v. Educational Testing *785 Serv., 87 N.Y.2d at 389, 639 N.Y.S.2d 977, 663 N.E.2d 289; Phoenix
Capital Invs. LLC v. Ellington Mgt. Group, L.L.C., 51 A.D.3d 549, 550, 859 N.Y.S.2d 46), and it is not duplicative
of the cause of action alleging breach of contract. Elmhurst Dairy v Bartlett Dairy, No. 12116/11, 0 (N.Y.A.D. 2
Dept., July 25, 2012)

                                                        59
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 60 of 69

First Amended Complaint, Page 60


enacted upon by the parties in action, and memorialized in various email exchanges, and payments

made by Larkin personally.

280. For a contract to exist, it need not be memorialized in a written form. Even if an express

written contract does not exist, a contract may be “implied in fact” as a result of “an inference from

the facts and circumstances of the case.” 23 “[A]lthough not formally stated in words,” an implied-

in-fact contract “is derived from the presumed intention of the parties as indicated by their

conduct.” Id. at 506–07.

281. S1. During the period September 2016-March 2017, the parties operated under an implied-

in-fact contract—an Agreement in Principle, which served as a Quasi Agreement—pursuant to

which Defendants committed to contribute various capital contributions and other renumeration to

Kumaran. Kumaran also provided services, work product, software licenses, disclosed confidential

information and IP, in exchange for promises of renumeration, The terms of this services, relied

on substantial incentive compensations, for salary bonuses to and trading royalties when

performance milestones were met, and that in exchange for Defendant’s compensation schedules,

which were also made personally and individually by Larkin, on behalf of Defendants. The parties

operated under the Agreement in Principle - subsequent to the Settlement Agreement, where

Plaintiffs provided services, software license fees, and disclosed other Plaintiff’s IP and were

Defendant’s had started making payments to Plaintiffs. This alleged course of conduct, accepted

as true, suffices to establish the existence of an implied-in-fact contract. 24
282. Even though the parties had not signed a finished agreement, under the Timetrics NDA, the

parties had an “Agreement in Principle” upon which (i) Larkin would personally make capital


23
   Leibowitz v. Cornell Univ., 584 F.3d 487, 506 (2d Cir. 2009) (quoting Jemzura v. Jemzura, 36 N.Y.2d 496, 369
N.Y.S.2d 400, 330 N.E.2d 414, 420 (1975)). However, “[a] contract cannot be implied in fact where there is an
express contract covering the subject matter involved.” Saeed v. Kreutz, 606 F. App'x 595, 597 (2d Cir. 2015)
(summary order) (quoting Julien J. Studley, Inc. v. N.Y. News, Inc., 70 N.Y.2d 628, 518 N.Y.S.2d 779, 512 N.E.2d
300, 301 (1987)). “The terms of an implied-in-fact contract turn on the conduct of the parties.” Beth Israel Med. Ctr.
v. Horizon Blue Cross & Blue Shield of N.J., Inc., 448 F.3d 573, 582 (2d Cir. 2006) (citing Watts v. Columbia
Artists Mgmt. Inc., 188 A.D.2d 799, 591 N.Y.S.2d 234, 236 (3d Dep't 1992)).
24
  See Brown Bros. Elec. Contractors, Inc. v. Beam Constr. Corp., 41 N.Y.2d 397, 393 N.Y.S.2d 350, 361 N.E.2d
999, 1001 (1977) (holding that courts should look to “objective manifestations of the intent of the parties as gathered
by their expressed words and deeds” to determine the existence of a binding contract).

                                                          60
      Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 61 of 69

First Amended Complaint, Page 61


contributions towards Kumaran’s launch of a hedge fund in exchange for Membership Interests

once formed – and subject to a minimum capital contribution - and bilaterally (ii) Kumaran would

provide services, software and IP to Defendants in exchange for trading royalties, a profit share of

all salary bonuses and materially a full reinstatement in April 2017 of the license fees under the

EULA, and compensations included Software License Fees, and Trading Royalties at previously

negotiated profits sharing.

283. Plaintiffs complied with their end of the Agreement in Principle, and provided hundreds of

hours of services, disclosed IP, and made contributions of value and also complied with offering

Larkin the Membership Interests he required in the hedge funds.

284. There was no express contract regarding the services, software licensee being provided by

Plaintiffs during the period of September 2016 – March 2017, and services were provided relied

on the Implied Contract. 25
285. Kumaran worked no less than several hundred hours, in anticipation of these compensations,

took time away from its business, and relied upon terms that were in the “Agreement in Principle”,

notable the promises of salary bonuses from Northland Hedge, and a reversion in full of the April

2017 original agreements that would be reinstated. After receiving the benefits of the labor, skills

and services, Defendants breached the terms of the Agreements.

286. Plaintiffs performed their obligations under the Agreement in Principle but Defendants
breached the Agreement in multiple ways including but not limited to making payments to

Plaintiffs under the Agreements. Plaintiffs have suffered injury in lost revenue, failure to receive

compensation for its services, software and incentive compensations, and salary bonuses, and

losses in the capital contributions.



25
   See Nwachukwu v. Chem. Bank, No. 96-CV-5118 (KMW), 1997 WL 441941, at *8 (S.D.N.Y. Aug. 6, 1997)
(observing that, under New York law, a “plaintiff's assertion of a claim based upon an implied contract” may only
be dismissed if “[t]he existence of an express contract” has been definitively established). Under New York law, the
“manifestation or expression of assent necessary to form a contract may be by word, act, or conduct which evinces
the intention of the parties to contract.” Leibowitz v. Cornell Univ., 584 F.3d 487, 507 (2d Cir. 2009) (citing Maffea
v. Ippolito, 247 A.D.2d 366, 367 (N.Y. 2d Dep't 1998)). Thus, “[a] party’s conduct indicates assent when he intends
to engage in the conduct and knows or has reason to know that the other party may infer from his conduct that he
assents.” Id. (citation omitted).

                                                         61
        Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 62 of 69

First Amended Complaint, Page 62


287. Defendant’s conduct was also a breach of the duty of commercial reasonableness is a breach

of contract claim. 26 Defendants, jointly and severally,                 have wrongfully profited from its

misappropriation and has caused Plaintiffs damages and irreparable harm. Defendants, jointly and

severally, conduct was intentional, dishonest, fraudulent, willful and intentional to harm Plaintiffs,

malicious, and/or grossly negligent, which justifies an award of punitive damages.

                           ELEVENTH CAUSE OF ACTION
                FRAUDULENT INDUCEMENT OF AGREEMENT IN PRINCIPLE
                                             Against all Defendants

288. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs

as if fully set forth at length herein; Plaintiffs restate and copy in full Section E ¶128-140, Section

F ¶141-149 and Section H supra herein.

289. Under New York law, a plaintiff must allege four elements to state a claim for fraudulent

inducement: (1) a material misrepresentation of a presently existing or past fact; (2) an intent to

deceive; (3) reasonable reliance on the misrepresentation by the plaintiff; and (4) resulting

damages. Ipcon Collections LLC v. Costco Wholesale Corp., 698 F.3d 58, 62 (2d Cir. 2012).

290. Larkin, acting in his capacity as CEO of Northland and President of Hedge, falsely made

material representations to Plaintiffs in or around September 2016, at specific dates, times and

places as alleged herein, and thereafter, that Defendants would honor numerous compensations

agreements, salary bonus structures and reinstatement of software license fees, in exchange for

services, and substantial profit sharing in hedging improvements. In making these statements,

Larkin was acting as President of Hedge Solutions and CEO of Northland Energy and was

representing Northland as a whole.

291. Given the short deadlines that Defendants represented were for the trading live during the

months of September 2016-March 2017, Plaintiffs accelerated its timeline to provide services,

software, risk management and hedging techniques and improvements of financial value to




26
     See Beninati v. F.D.I.C., 55 F. Supp. 2d 141, 147 (E.D.N.Y. 1999)

                                                          62
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 63 of 69

First Amended Complaint, Page 63


Defendants reliant on the compensations schedules, and took time away for its other operations

and opportunities to earn revenue.

292. Further, reliant on the representations, Plaintiff’s continued to provide services, software and

other upgrades, design and recommendation in hedging strategies, and disclose IP, Confidential

Information and Trade Secrets, to Defendants. Further, Plaintiffs reasonably relied on Larkin’s

representations in deciding to enter into the Implied Agreement, and proceeding to provide

services, software, risk management and hedging upgrades and techniques, disclose further IP, and

dilute its time management from the other activities to assist Defendant’s business, reliant on the

cashflow and revenue incentive compensations that were promised by Defendants.

293. Defendants however knew their representations were false and they had no intention of

compensating Plaintiffs for their services, in particular because Defendants were not willing to

comply with the FCM and commodities exchange regulations for Kumaran to provide such

services. Plaintiffs reinsert Section G ¶ 166-171 supra herein in full.

294. Therefore Larkin, Northland and Hedge knew at the onset that their representations were false,

and that compensations through Northland and Hedge could not have been made, and intended to

deceive Plaintiffs to induce free services, wrongfully acquire by fraudulent inducement to disclose

more trade secrets and their valuable IP, Confidential Information, provide services and proceed

with the Agreement in Principle while all the time increasing profits and revenue to Defendants.

295. Plaintiffs have been harmed by non-payment of the various compensations contemplated in

the Agreement in Principle, while Defendants have retained the benefits from and profited from

the services, discounts, software license and disclosure of IP provided to them thereunder in

amount in excess of $1 million dollars.

296. Defendants jointly and severally, have wrongfully profited from its misappropriation and has

caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.




                                                 63
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 64 of 69

First Amended Complaint, Page 64


                             TWELFTH CAUSE OF ACTION
                        BREACH OF CONTRACT (TIMETRICS NDA)
                                  AGAINST ALL DEFENDANTS

297. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein.

298. The Timetrics NDA dated March 22nd, 2011 is a valid and binding contract upon all parties,

including Defendants, supported by adequate consideration. Plaintiffs fully performed all duties

and obligations under the contract.

299. Defendants agreed that they would only use Plaintiffs IP for mutual benefit, would not retain,

or use, or modify, reverse engineer, or otherwise misappropriate Plaintiffs’ IP, including but not

limited to obtaining guidance from to develop an internal spreadsheet with similar features and

functions as previously and further described by the full language of the contract contained in

Section 2, Section 3 and otherwise therein.

300. Defendants have breached and continue to materially breach the contract by violating the

several provisions concerning the Plaintiffs’ IP and specifically by retaining, using, modifying,

reverse engineering, duplicating and in other ways misappropriating Plaintiffs’ IP, in derogation

of their express restrictions contained within the contract, including but not limited to those under

Section 2, Section 3.a and 3.b.

301. Defendants, through their retention, modification, and use of misappropriated Plaintiffs’ IP,

and Software have and continue to profit as a direct and proximate result of the improper use of

the Plaintiffs’ IP, and Plaintiffs improper development and modification thereto, those profits were

in an amount not yet fully ascertained, but believed to be not less than $1 million to be determined

at trial. By reason of the foregoing, Plaintiff has been damaged in an amount to be determined at

trial, but believed to be in excess of $1million dollars.

302. In the alternative, by reason of the foregoing, Plaintiff is entitled to disgorgement of any and

all profits, improperly derived from Defendant’s breach of contract, in an amount to be determined

at trial, but believed to be in excess of $1 million.


                                                  64
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 65 of 69

First Amended Complaint, Page 65


303. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harm.Defendants, jointly and severally, conduct was

intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent, which

justifies an award of punitive damages.


                              THIRTEENTH CAUSE OF ACTION

          RECISSION OR INVALIDITY OF PROVISION 4 OF SETTLEMENT,

                               REINSTATEMENT OF THE EULA

             Against Defendants Larkin, Northland Energy, and Hedge Solutions

304. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein.

305. The Settlement Agreement, notably the provisions of Section 4 to terminate all prior

Engagement Letters and EULA was procured by fraud. Plaintiffs repeat (Section 21 hereunder_)

Defendants knew that had retained Derivative Works, had implemented them for production as an

OBT Book,, and were cash-flowing profits to Defendants, and willfully and maliciously intended

to cut Plaintiffs cut of their fair share of royalties, license fees and other compensations. Larkin,

Northland and Hedge induced Section 4 of the Settlement based on fraudulent omissions and

statements, fraudulent representations and warranties, and thus provision Section 4 is void under
law. Recission of Section 4 is permissable at the Plaintiffs’ option as the terms were induced by

fraud, and are therefore null and void.

306. Defendants, jointly and severally, have wrongfully profited from its fraud, misappropriation

and has caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct

was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

which justifies an award of punitive damages.


                              FOURTEENTH CAUSE OF ACTION

                       MISAPPROPRIATION OF SKILLS AND LABOR


                                                 65
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 66 of 69

First Amended Complaint, Page 66


 AGAINST DEFENDANTS LARKIN, NORTHLAND ENERGY, HEDGE SOLUTIONS

307. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein. Plaintiffs reinsert and incorporate Sections G 150-171

and Section I 179-198 supra herein.

308. Larkin and Northland Energy and Kumaran are direct competitors, registered as commodities

trading advisors. (“CTA’S). During the period September 2016 -March 2017, under the fraudulent

promises of compensating Kumaran as a CTA, Kumaran provided IP, services labor to Northland

and Larkin’s CTA reliant on the sharing of profits and other renumerations, Larkin has

misappropriated hundreds of hours of unpaid labor, skills, services, and expenditures during the

period, for continue excessive hours of work, without compensation and signed agreements and

as a competitor and CTA used these skills to further his own CTA business Further Defendants, in

bad faith,   have threatened to breach numerous confidentiality provisions, and publish and

disseminate trade secrets and confidential information, and Larkin has impeded registrations of the

hedge funds, and failed to comply with management, to attempt to destroy the reputation and good

will of Plaintiff’s businesses as retribution should Plaintiffs pursue action against them.

309. Plaintiffs have been harmed by non-payment of the various compensations contemplated in

the Agreement in Principle, while Defendants have retained the benefits from and profited from

the services, discounts, software license and disclosure of IP provided to them thereunder in

amount in excess of $1 million dollars.

310. Defendants, jointly and severally, have wrongfully profited from its misappropriation and

has caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally, conduct

was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly negligent,

which justifies an award of punitive damages.

                              FIFTEENTH CAUSE OF ACTION
                              BREACH OF FIDUCIARY DUTY
                                  Against Defendant LARKIN




                                                 66
       Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 67 of 69

First Amended Complaint, Page 67


311. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein. Plaintiffs restate and copy in full Section J ¶199-202,

supra herein.

312. Larkin under the Agreement in Principle and other oral and implied agreements undertook

roles as a principle (owning 10% of more) and as a member of Timetrics’ affiliate LLC, for which

Kumaran is majority member. The LLC cases have generally, in the absence of provisions in the

LLC agreement explicitly disclaiming the applicability of default principles of fiduciary duty,

treated LLC members as owing each other the traditional fiduciary duties that directors owe a

corporation. Larkin therefore owes Kumaran a fiduciary duty and a duty to act in good faith 27.
313. Larkin in his protections of confidentiality, and agreements to protect the interests of owes

Kumaran a fiduciary duty in the protections of confidentiality of her businesees Larkin’s

obstructions to hold up signing an NDA, and excuting operating agreements are a breach of his

fiduciary duty to Kumaran, to act in the company’s best interest.

314. His actions, demonstrate a breach of his duty of loyalty, and a willful and intentional attempt

to make public confidential information, obstrcut and harm Kumaran’s as a partner in its other

businesses, under Delaware Act, as well as breach of Timetrics NFA.

315. Larkin also has acted in bad faith since 2016 until present date, to not comply with the

regulatory requirements and his duties to Kumaran to register the funds. His actions have caused
Kumaran significant financial harm. Larkin also has a fiduciary to act in good faith to Kumaran.

316. Larkin is therefore also liable for breach of fiduciary duty under the Delaware Act, for his

failure to act in good faith and execute the necessary LLC documents, respond to operating

agreements, and NDA’s and instead threats to make public Confidential Information.

Defendants, jointly and severally, conduct was intentional, fraudulent, willfully and wantonly

reckless, malicious, and/or grossly negligent, which justifies an award of punitive damages.




27
     See Douzinas v. Am. Bureau of Shipping, Inc., 888 A.2d 1146, 1149-50 (Del.Ch.2006);


                                                 67
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 68 of 69

First Amended Complaint, Page 68


                               SIXTEENTH CAUSE OF ACTION
                               AIDING AND ABETTING FRAUD
                                  Against Lothrop and Bramante

317. Plaintiffs repeat and reallege each and every allegation set forth in the foregoing paragraphs,

supra, as if fully set forth at length herein, and Affidavits 1- 3.

318. In the alternative, Plaintiff pleads against Lothrop and Bramante, that Lothrop and Bramante

aided and abetted Larkin, Northland and Hedge in committing fraud, by taking affirmative actions,

and providing substantial assistance in enacting the scheme, and participation of the fraud,

including but not limited to making material misrepresentations, concealing the OBT Book,

Derivative Works, and the other fraudulent conduct stated in Affidavit 1 – Fraud, Affidavit 2 and

3 and otherwise herein, and also pled in Cause of Action 2 and 3

319. A defendant ‘affirmatively assists, helps conceal, or by virtue of failing to act when required

to do so enables the fraud to proceed’; and (2) ‘the actions of the aider/abettor proximately caused

the harm on which the primary liability is predicated.’ Rosner v. Bank of China, No. 06–CV–

13562, 2008 WL 5416380, at *5 (S.D.N.Y. Dec. 18, 2008)

320. Defendants, jointly and severally, have wrongfully profited from its fraud, misappropriation

and have caused Plaintiffs damages and irreparable harm. Defendants, jointly and severally,

conduct was intentional, fraudulent, willfully and wantonly reckless, malicious, and/or grossly

negligent, which justifies an award of punitive damages.

                                      RELIEF REQUESTED

WHEREFORE, Plaintiffs Samantha Siva Kumaran and The A Star Group, Inc prays for relief

that this Court render a judgment against Defendants, jointly and severally, for a ruling;

Enjoining Defendants, their offices, employees, agents, successors, and all other persons in

active concert or participation with them, from:

a. Continuing to use or engaging in any and all trading activities of commodities or futures
products, which are in any way derivatives of the possession, use or derivative modification,

development, or reverse-engineering of Plaintiffs’ IP, as described in the Settlement Agreement.


                                                   68
     Case 1:19-cv-08345-MKV-DCF Document 26 Filed 12/26/19 Page 69 of 69

First Amended Complaint, Page 69


b. Recission of Section 4 of the Settlement Agreement; Reinstatement of the EULA and other

engagements;

and Awarding:

c. Compensatory damages in an amount to be determined at trial, but believed to be in excess of

$1 million;

d. Costs and disbursements;

e. Attorneys fees, in an amount to be determined, as provided for in the Settlement should

Plaintiffs be the prevailing party;

f. Exemplary damages including but not limited to all special, indirect, punitive,
consequential or other damages;

g. Pre-judgment and post-judgment interest; and

h. Such other relief as is just and proper.

PLAINTIFF DEMANDS TRIAL BY JURY

Dated: New York, New York

December 26th 2019.




                                               69
